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                                Exhibit A


       Suppl. Decl. of B. Zigler, 11/12/24
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                  ^ƵƉƉůĞŵĞŶƚĂů
         ĞĐůĂƌĂƚŝŽŶŽĨƌ͘ƌĂĚůĞǇŝŐůĞƌ

                             EŽǀĞŵďĞƌϭϮ͕ϮϬϮϰ
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  dĂďůĞŽĨŽŶƚĞŶƚƐ
  ϭ   WƵƌƉŽƐĞŽĨdŚŝƐZĞƉŽƌƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭ
  Ϯ   ^ƵƉƉůĞŵĞŶƚĂůKƉŝŶŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭ
       Ϯ͘ϭ ;KƉŝŶŝŽŶϱ͘ϮͿdŚĞ,sĂƚƚĞƌǇWĂĐŬŝƐŽŵŵŽŶƚŽůůƚŚĞůĂƐƐsĞŚŝĐůĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭ
       Ϯ͘Ϯ ;KƉŝŶŝŽŶϱ͘ϯͿ&^ĂĨĞƚǇZĞĐĂůůZĞƉŽƌƚĨŽƌDzϮϬϭϳͲϮϬϭϴŚƌǇƐůĞƌWĂĐŝĨŝĐĂ,ǇďƌŝĚ
             sĞŚŝĐůĞƐŽǀĞƌƐůůůĂƐƐsĞŚŝĐůĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ
       Ϯ͘ϯ ;KƉŝŶŝŽŶϱ͘ϰͿ&͛ƐŶĂůǇƐŝƐŽĨ,sĂƚƚĞƌǇWĂĐŬDĂŶƵĨĂĐƚƵƌŝŶŐĞĨĞĐƚƐWƌŽŵƉƚĞĚ
             ƚŚĞZĞĐĂůůŽĨůůůĂƐƐsĞŚŝĐůĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
       Ϯ͘ϰ ;KƉŝŶŝŽŶϱ͘ϲͿdŚĞĨĨĞĐƚŝǀĞŶĞƐƐŽĨ&͛ƐϭϭZĞĐĂůůtŝůůĞĞƚĞƌŵŝŶĞĚŽŶĂůĂƐƐ
             tŝĚĞĂƐŝƐhƐŝŶŐǀŝĚĞŶĐĞŽŵŵŽŶƚŽůůůĂƐƐsĞŚŝĐůĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴ
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  >ŝƐƚŽĨ&ŝŐƵƌĞƐ
  &ŝŐƵƌĞϭ͘ZĞĐĂůůϳϯŝŶǀŽůǀĞĚ,sďĂƚƚĞƌǇƉĂĐŬƉĂƌƚŶƵŵďĞƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯ 
  &ŝŐƵƌĞϮ͘ZĞĐĂůůϭϭŝŶǀŽůǀĞĚ,sďĂƚƚĞƌǇƉĂĐŬƉĂƌƚŶƵŵďĞƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯ 
  &ŝŐƵƌĞϯ͘DŽƉĂƌǁĞďƐŝƚĞƐĐƌĞĞŶƐŚŽƚĨŽƌƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƐĞƌǀŝĐĞƉĂƌƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϳ 
  &ŝŐƵƌĞϰ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϭϳWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴ 
  &ŝŐƵƌĞϱ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϭϴWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴ 
  &ŝŐƵƌĞϲ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϮϯWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϵ 
  &ŝŐƵƌĞϳ͘ϭϭZĞĐĂůůǀĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶƐƵŵŵĂƌǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ 
  &ŝŐƵƌĞϴ͘ϳϯZĞĐĂůůǀĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶƐƵŵŵĂƌǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ 
  &ŝŐƵƌĞϵ͘ϭϭZĞĐĂůůŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƉŽƚĞŶƚŝĂůůǇŝŶǀŽůǀĞĚƉŽƉƵůĂƚŝŽŶĂŶĚĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞǁŝƚŚ
  ĚĞĨĞĐƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ 
  &ŝŐƵƌĞϭϬ͘ϳϯZĞĐĂůůŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƉŽƚĞŶƚŝĂůůǇŝŶǀŽůǀĞĚƉŽƉƵůĂƚŝŽŶĂŶĚĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞǁŝƚŚ
  ĚĞĨĞĐƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ 
  &ŝŐƵƌĞϭϭ͘ϳϯZĞĐĂůůĚĞĨĞĐƚĚĞƐĐƌŝƉƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ 
  &ŝŐƵƌĞϭϮ͘&ƌĞǀŝĞǁŽĨϭϭZĞĐĂůůĞĨĨĞĐƚŝǀĞŶĞƐƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ 
  &ŝŐƵƌĞϭϯ͘&ĂŶĂůǇƐŝƐŽĨ,sďĂƚƚĞƌǇĨŝƌĞƐĨŽƌDzϮϬϭϳͲϮϬϭϴ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ 
  &ŝŐƵƌĞϭϰ͘&ĂŶĂůǇƐŝƐŽĨĨŝƌƐƚϮϯĨŝƌĞŝŶĐŝĚĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ 
  &ŝŐƵƌĞϭϱ͘&ĂŶĂůǇƐŝƐŽĨƉƌŽũĞĐƚĞĚĨĂŝůƵƌĞ;ĨŝƌĞͿƌĂƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ 
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  ϭ     WƵƌƉŽƐĞŽĨdŚŝƐZĞƉŽƌƚ
  ŽƵŶƐĞůĨŽƌWůĂŝŶƚŝĨĨƐŚĂǀĞĂƐŬĞĚŵĞƚŽƌĞǀŝĞǁƐƵƉƉůĞŵĞŶƚĂůŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƚŚĞŵŽĚĞůǇĞĂƌ;DzͿϮϬϭϳͲ
  ϮϬϭϴŚƌǇƐůĞƌWĂĐŝĨŝĐĂWůƵŐͲ/Ŷ,ǇďƌŝĚůĞĐƚƌŝĐ;W,sͿǀĞŚŝĐůĞƐ;͞ůĂƐƐsĞŚŝĐůĞƐ͟ͿƌĞůĂƚĞĚƚŽƉŽƐƐŝďůĞĚĞĨĞĐƚƐ
  ŝŶƚŚĞŚŝŐŚͲǀŽůƚĂŐĞ;,sͿďĂƚƚĞƌǇƉĂĐŬƌĞƐƵůƚŝŶŐŝŶĨŝƌĞƐ͘dŚĞƉƵƌƉŽƐĞŽĨƚŚŝƐƌĞƉŽƌƚŝƐƚŽĐŽŶƐŝĚĞƌƚŚŝƐŶĞǁ
  ŝŶĨŽƌŵĂƚŝŽŶ ĂŶĚ ƐƵƉƉůĞŵĞŶƚ ƚŚĞ ŽƉŝŶŝŽŶƐ ĞǆƉƌĞƐƐĞĚ ŝŶ ŵǇ :ĂŶƵĂƌǇ ϭϵ͕ ϮϬϮϰ ĞĐůĂƌĂƚŝŽŶ ;͞ůĂƐƐ
  ĞƌƚŝĨŝĐĂƚŝŽŶZĞƉŽƌƚ͟ͿĂĐĐŽƌĚŝŶŐůǇ͘

  dŚĞƐƵƉƉůĞŵĞŶƚĂůŝŶĨŽƌŵĂƚŝŽŶ/ĐŽŶƐŝĚĞƌĞĚŝŶĐůƵĚĞƐ͗
      x WĂƌƚ ϱϳϯ ^ĂĨĞƚǇZĞĐĂůů ZĞƉŽƌƚ ĂŶĚ ĂƐƐŽĐŝĂƚĞĚ ĚŽĐƵŵĞŶƚƐ ƌĞŐĂƌĚŝŶŐ&h^ >>͛Ɛ :ƵůǇ ϭϴ͕ϮϬϮϰ
         ƌĞĐĂůůŽĨDzϮϬϭϳͲϮϬϭϴŚƌǇƐůĞƌWĂĐŝĨŝĐĂW,sƐĨŽƌĐŽŶƚŝŶƵŝŶŐĨŝƌĞƌŝƐŬ;͞ϳϯZĞĐĂůů͟Ϳ

        x    WĂƌƚ ϱϳϯ ^ĂĨĞƚǇZĞĐĂůů ZĞƉŽƌƚ ĂŶĚ ĂƐƐŽĐŝĂƚĞĚ ĚŽĐƵŵĞŶƚƐ ƌĞŐĂƌĚŝŶŐ&h^ >>͛Ɛ :ƵůǇ ϭϴ͕ϮϬϮϰ
             ƌĞĐĂůůŽĨĐĞƌƚĂŝŶDzϮϬϭϵͲϮϬϮϭŚƌǇƐůĞƌWĂĐŝĨŝĐĂW,sƐĨŽƌĨŝƌĞƌŝƐŬ;͞ϳϮZĞĐĂůů͟Ϳ

        x    &h^>>͛ƐŶƐǁĞƌƐƚŽWůĂŝŶƚŝĨĨƐ͛&ŝƌƐƚ^ĞƚŽĨ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐ

        x    &h^>>͛Ɛ^ƵƉƉůĞŵĞŶƚĂůŶƐǁĞƌƐƚŽWůĂŝŶƚŝĨĨƐ͛&ŝƌƐƚ^ĞƚŽĨ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐ

        x    &h^>>͛Ɛ^ĞĐŽŶĚ^ƵƉƉůĞŵĞŶƚĂůŶƐǁĞƌƐƚŽWůĂŝŶƚŝĨĨƐ͛&ŝƌƐƚ^ĞƚŽĨ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐ

        x    &h^>>͛ƐdŚŝƌĚ^ƵƉƉůĞŵĞŶƚĂůŶƐǁĞƌƐƚŽWůĂŝŶƚŝĨĨƐ͛&ŝƌƐƚ^ĞƚŽĨ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐ

        x    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϬϴͲϰϱϱϱϳϴ

        x    ůĚŽŶ'͘>ĞĂƉŚĂƌƚ͛Ɛ&ĞďƌƵĂƌǇϭϵ͕ϮϬϮϰĞǆƉĞƌƚƌĞƉŽƌƚ

        x    ůĚŽŶ'͘>ĞĂƉŚĂƌƚ͛ƐDĂǇϭϰ͕ϮϬϮϰĚĞƉŽƐŝƚŝŽŶƚƌĂŶƐĐƌŝƉƚ͘

  / ƵŶĚĞƌƐƚĂŶĚ & h^ >> ĂůƐŽ ŵĂĚĞ ƚŚĞ ĨŽůůŽǁŝŶŐ ƉƌŽĚƵĐƚŝŽŶƐ͗ &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϵͲϰϳϬϵϱϵ ŽŶ
  ^ĞƉƚĞŵďĞƌ ϯϬ͕ ϮϬϮϰ͖ &ͺWĂĐŝĨŝĐĂͺD>ͲϰϳϬϵϲϬͲϰϳϰϯϴϮ ŽŶ KĐƚŽďĞƌ Ϯ͕ ϮϬϮϰ͖ ĂŶĚ &ͺWĂĐŝĨŝĐĂͺD>Ͳ
  ϰϳϰϯϴϯͲϰϳϳϵϳϳŽŶKĐƚŽďĞƌϮ͕ϮϬϮϰ͘/ǁĂƐƵŶĂďůĞƚŽƌĞǀŝĞǁĂŶĚŝŶĐŽƌƉŽƌĂƚĞĂůůƌĞůĞǀĂŶƚŝŶĨŽƌŵĂƚŝŽŶĨƌŽŵ
  ƚŚŽƐĞƉƌŽĚƵĐƚŝŽŶƐŝŶƚŽƚŚŝƐƐƵƉƉůĞŵĞŶƚĂůƌĞƉŽƌƚĚƵĞƚŽƚŝŵĞĐŽŶƐƚƌĂŝŶƚƐ͘/ƌĞƐĞƌǀĞƚŚĞƌŝŐŚƚƚŽƐƵƉƉůĞŵĞŶƚ
  ŵǇŽƉŝŶŝŽŶƐŽŶĐĞ/ĐŽŵƉůĞƚĞƌĞǀŝĞǁŽĨƚŚĞƐĞĚŽĐƵŵĞŶƚƐ͘

  Ϯ     ^ƵƉƉůĞŵĞŶƚĂůKƉŝŶŝŽŶƐ
  ĂƐĞĚ ŽŶ ƚŚĞ ŶĞǁ ŝŶĨŽƌŵĂƚŝŽŶ / ŚĂǀĞ ƌĞǀŝĞǁĞĚ͕ ĐĞƌƚĂŝŶ ŽƉŝŶŝŽŶƐ ŝŶ ŵǇ ůĂƐƐ ĞƌƚŝĨŝĐĂƚŝŽŶ ZĞƉŽƌƚ ĂƌĞ
  ƐƵƉƉůĞŵĞŶƚĞĚŽƌĂŵĞŶĚĞĚĂƐĨŽůůŽǁƐ͘

  Ϯ͘ϭ       ;KƉŝŶŝŽŶϱ͘ϮͿdŚĞ,sĂƚƚĞƌǇWĂĐŬŝƐŽŵŵŽŶƚŽůůƚŚĞůĂƐƐsĞŚŝĐůĞƐ

  &h^>>͛Ɛ;͞&͟ͿϳϯZĞĐĂůůƐƵƉƉŽƌƚƐŵǇƉƌŝŽƌŽƉŝŶŝŽŶƚŚĂƚƚŚĞůĂƐƐsĞŚŝĐůĞƐƐŚĂƌĞĂĐŽŵŵŽŶ,s
  ďĂƚƚĞƌǇƉĂĐŬ͘



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  KŶ:ƵůǇϭϴ͕ϮϬϮϰ͕&ŝƐƐƵĞĚƚŚĞϳϯZĞĐĂůůĨŽƌDzϮϬϭϳͲϮϬϭϴŚƌǇƐůĞƌWĂĐŝĨŝĐĂW,sƐ͕ǁŚŝĐŚƐƚĂƚĞƐƚŚĂƚ
  ƚŚĞƐĞǀĞŚŝĐůĞƐ͞ŚĂǀĞĐŽŶƚŝŶƵĞĚƚŽĞǆƉĞƌŝĞŶĐĞĨŝƌĞƐŽƌŝŐŝŶĂƚŝŶŐĨƌŽŵƚŚĞŚŝŐŚǀŽůƚĂŐĞ;͚,s͛ͿďĂƚƚĞƌǇĂĨƚĞƌ
  ŚĂǀŝŶŐƚŚĞƌĞŵĞĚǇĨŽƌ&h^ZĞĐĂůů/ϭϭ;E,d^ZĞĐĂůů/ϮϮsͲϬϳϳͿ;͚ϭϭ͛ͿĐŽŵƉůĞƚĞĚ͘͟ ϭdŚĞϳϯZĞĐĂůů
  ĐŽǀĞƌƐƚŚĞƐĂŵĞDzϮϬϭϳͲϮϬϭϴWĂĐŝĨŝĐĂW,sƐŝŶĐůƵĚĞĚŝŶƚŚĞϭϭZĞĐĂůů͕ϮĞǆĐĞƉƚĨŽƌƚŚŽƐĞǀĞŚŝĐůĞƐƚŚĂƚ
  ƉƌĞǀŝŽƵƐůǇƌĞĐĞŝǀĞĚĂŶ,sďĂƚƚĞƌǇƌĞƉůĂĐĞŵĞŶƚƵŶĚĞƌƚŚĞϭϭZĞĐĂůů͘dŚĞϳϯZĞĐĂůůĂůƐŽŝŵƉůŝĐĂƚĞƐƚŚĞ
  ƐĂŵĞĐŽŵƉŽŶĞŶƚ ŝŶ ƚŚĞ ĨŝƌĞ ƌŝƐŬͶƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬͶĂƐ ŝŵƉůŝĐĂƚĞĚ ŝŶ ƚŚĞ ϭϭ ZĞĐĂůů͘tŚŝůĞ ƚŚĞ ,s
  ďĂƚƚĞƌǇƉĂĐŬŚĂƐƚǁĞŶƚǇͲĨŝǀĞǀĂƌŝĂƚŝŽŶƐĂĐƌŽƐƐƚŚĞůĂƐƐsĞŚŝĐůĞƐĂƐŝŶĚŝĐĂƚĞĚďǇĞǀŽůǀŝŶŐƉĂƌƚŶƵŵďĞƌƐ͕
  ĂůůǀĂƌŝĂƚŝŽŶƐǁĞƌĞƌĞĐĂůůĞĚĨŽƌĨŝƌĞƌŝƐŬƵŶĚĞƌďŽƚŚƚŚĞϳϯĂŶĚϭϭZĞĐĂůůƐ;ĐŽŵƉĂƌĞ&ŝŐƵƌĞϭĂŶĚ&ŝŐƵƌĞ
  ϮͿ͘




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                           &ŝŐƵƌĞϭ͘ZĞĐĂůůϳϯŝŶǀŽůǀĞĚ,sďĂƚƚĞƌǇƉĂĐŬƉĂƌƚŶƵŵďĞƌƐ͘ ϯ
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   dŚĞůĂƐƐsĞŚŝĐůĞƐǁĞƌĞƉƌĞǀŝŽƵƐůǇƌĞĐĂůůĞĚĨŽƌĨŝƌĞƌŝƐŬŽŶ&ĞďƌƵĂƌǇϭϭ͕ϮϬϮϮ;͞ϭϭZĞĐĂůů͟Ϳ͘
  Ϯ
   dŚĞϳϯZĞĐĂůůĂŶĚƚŚĞϭϭZĞĐĂůůďŽƚŚŝŶĐůƵĚĞDzϮϬϭϳͲϮϬϭϴǀĞŚŝĐůĞƐƉƌŽĚƵĐĞĚďĞƚǁĞĞŶƵŐƵƐƚϭϮ͕ϮϬϭϲ͕ĂŶĚ
  ƵŐƵƐƚϳ͕ϮϬϭϴ͘
  ϯ
   ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZD/^ͲϮϰsϱϯϲͲϭϮϵϯ͘ƉĚĨ


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  tŚŝůĞ ƚŚĞ ,s ďĂƚƚĞƌǇƉĂĐŬĚĞƐŝŐŶ ĂŶĚ ŵĂŶƵĨĂĐƚƵƌŝŶŐĐŚĂŶŐĞĚ ƚŽƐŽŵĞ ĞǆƚĞŶƚŽǀĞƌ ƚŚĞDzϮϬϭϳͲϮϬϭϴ
  WĂĐŝĨŝĐĂW,sƉƌŽĚƵĐƚŝŽŶƚŝŵĞĨƌĂŵĞƌĞƐƵůƚŝŶŐŝŶƚǁĞŶƚǇͲĨŝǀĞƉĂƌƚŶƵŵďĞƌĐŚĂŶŐĞƐ;&ŝŐƵƌĞϭĂŶĚ&ŝŐƵƌĞ
  ϮͿ͕ϱ ƚŚĞƐĞ ĐŚĂŶŐĞƐ ĚŝĚ ŶŽƚ ĂůƚĞƌ ƚŚĞ ƉĂƌƚ͛Ɛ ĨŽƌŵ͕ Ĩŝƚ͕ ĂŶĚ ĨƵŶĐƚŝŽŶ ;͞&&&͟Ϳ͘ &&& ŝƐ ĂŶ ĞŶŐŝŶĞĞƌŝŶŐ ĂŶĚ
  ŵĂŶƵĨĂĐƚƵƌŝŶŐĐŽŶĐĞƉƚƚŚĂƚƌĞĨĞƌƐƚŽĂƐĞƚŽĨĐŚĂƌĂĐƚĞƌŝƐƚŝĐƐŽƌƌĞƋƵŝƌĞŵĞŶƚƐƚŚĂƚĂƌĞĞƐƐĞŶƚŝĂůĨŽƌƚŚĞ
  ĚĞƐŝŐŶĂŶĚĐŽŵƉĂƚŝďŝůŝƚǇŽĨƉƌŽĚƵĐƚƐ͕ĐŽŵƉŽŶĞŶƚƐ͕ŽƌƐǇƐƚĞŵƐ͘ŚŝŐŚͲůĞǀĞůĚĞĨŝŶŝƚŝŽŶŽĨ&&&ŝƐŝŶĐůƵĚĞĚŝŶ
  ƚŚĞŽĚĞŽĨ&ĞĚĞƌĂůZĞŐƵůĂƚŝŽŶƐ͗

      x    &Žƌŵ͘ dŚĞ ĨŽƌŵ ŽĨ Ă ĐŽŵŵŽĚŝƚǇ ŝƐ ĚĞĨŝŶĞĚ ďǇ ŝƚƐ ĐŽŶĨŝŐƵƌĂƚŝŽŶ ;ŝŶĐůƵĚŝŶŐ ƚŚĞ ŐĞŽŵĞƚƌŝĐĂůůǇ
           ŵĞĂƐƵƌĞĚĐŽŶĨŝŐƵƌĂƚŝŽŶͿ͕ŵĂƚĞƌŝĂů͕ĂŶĚŵĂƚĞƌŝĂůƉƌŽƉĞƌƚŝĞƐƚŚĂƚƵŶŝƋƵĞůǇĐŚĂƌĂĐƚĞƌŝǌĞŝƚ͘



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   ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϮͬZD/^ͲϮϮsϬϳϳͲϳϮϵϱ͘ƉĚĨ
  ϱ
   ^ĞĞ͘>ĞĂƉŚĂƌƚ&Ğď͘ϭϵ͕ϮϬϮϰZĞƉŽƌƚĂƚϯ͘ϯͲϯ͘ϱ͘


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             ďĞĐŽŵĞĂŶŝŶƚĞŐƌĂůƉĂƌƚŽĨĂŶŽƚŚĞƌĐŽŵŵŽĚŝƚǇ͘

         x   &ƵŶĐƚŝŽŶ͘dŚĞĨƵŶĐƚŝŽŶŽĨĂĐŽŵŵŽĚŝƚǇŝƐƚŚĞĂĐƚŝŽŶŽƌĂĐƚŝŽŶƐŝƚŝƐĚĞƐŝŐŶĞĚƚŽƉĞƌĨŽƌŵ͘ ϲ

  /ŶŵǇƉƌŝŽƌĞǆƉĞƌŝĞŶĐĞĂƐĂƉŽǁĞƌƚƌĂŝŶĞŶŐŝŶĞĞƌǁŝƚŚƚƌĂŶƐŵŝƐƐŝŽŶĂŶĚĞŶŐŝŶĞĐŽŵƉŽŶĞŶƚĂŶĚƐǇƐƚĞŵƐ
  ĚĞƐŝŐŶĂŶĚƌĞůĞĂƐĞƌĞƐƉŽŶƐŝďŝůŝƚǇĂƚ&ŽƌĚDŽƚŽƌŽŵƉĂŶǇ͕ƚŚĞĐŽŶĐĞƉƚŽĨ&&&ǁĂƐƵƚŝůŝǌĞĚǁŚĞŶŵĂŬŝŶŐ
  ĚĞƐŝŐŶĐŚĂŶŐĞƐƚŽǀĞŚŝĐůĞƉĂƌƚƐĂŶĚĐŽŵƉŽŶĞŶƚƐ͘^ƵĐŚĚĞƐŝŐŶĐŚĂŶŐĞƐƌĞƋƵŝƌĞĚĐŚĂŶŐŝŶŐƚŚĞĞŶŐŝŶĞĞƌŝŶŐ
  ƉĂƌƚ ŶƵŵďĞƌ ƚŽ ĞŶĂďůĞ ƚƌĂĐĞĂďŝůŝƚǇ ĂŶĚ ŵĂŶĂŐĞ ĐŚĂŶŐĞ ĐŽŶƚƌŽů ĂƐ ƉĂƌƚ ŽĨ ƚŚĞ ƉƌŽĚƵĐƚ ůŝĨĞĐǇĐůĞ
  ŵĂŶĂŐĞŵĞŶƚ ƉƌŽĐĞƐƐ͘ ŶŐŝŶĞĞƌŝŶŐ ƉĂƌƚ ŶƵŵďĞƌ ĐŚĂŶŐĞƐ ǁĞƌĞ ĐŽŵŵƵŶŝĐĂƚĞĚ ƚŽ ŵĂŶƵĨĂĐƚƵƌŝŶŐ ƚŽ
  ĐŽŽƌĚŝŶĂƚĞŝŵƉůĞŵĞŶƚĂƚŝŽŶ͕ƉƵƌĐŚĂƐŝŶŐ;ŝĨƚŚĞƉĂƌƚǁĂƐĞǆƚĞƌŶĂůůǇƐŽƵƌĐĞĚͿ͕ĨŝŶĂŶĐĞƚŽƚƌĂĐŬĐŽƐƚĐŚĂŶŐĞƐ͕
  ĂŶĚƐĞƌǀŝĐĞĞŶŐŝŶĞĞƌŝŶŐƚŽĐŽŽƌĚŝŶĂƚĞƌĞƉĂŝƌƉƌŽĐĞĚƵƌĞƐĂŶĚƐĞƌǀŝĐĞƉĂƌƚƐ͘ŶŝŵƉŽƌƚĂŶƚĂƐƉĞĐƚŽĨƚŚŝƐ
  ƉƌŽĐĞƐƐǁĂƐĚĞƚĞƌŵŝŶŝŶŐǁŚĞƚŚĞƌƚŚĞĐŚĂŶŐĞƐŝŶƚŚĞŶĞǁƉĂƌƚƌĞŶĚĞƌĞĚŝƚĚŝĨĨĞƌĞŶƚŝŶ&&&ĨƌŽŵƚŚĞŽůĚ
  ƉĂƌƚ ƐƵĐŚ ƚŚĂƚ ƚŚĞ ŶĞǁ ĂŶĚ ŽůĚ ƉĂƌƚƐ ǁĞƌĞ ŶŽƚ ŝŶƚĞƌĐŚĂŶŐĞĂďůĞ ĂŶĚ ƌĞƋƵŝƌĞĚ ŵŽƌĞ ĞǆƚĞŶƐŝǀĞ ĐŚĂŶŐĞ
  ĐŽŶƚƌŽů͘/ĨƚŚĞ&&&ĐŚĂŶŐĞŝŶƚŚĞŶĞǁƉĂƌƚǁĂƐƐƵĐŚƚŚĂƚŝƚǁĂƐŶŽƚďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞƚŽďĞƵƐĞĚŝŶ
  ƉůĂĐĞŽĨƚŚĞŽůĚƉĂƌƚ͕ŝƚƌĞƋƵŝƌĞĚĂ͞ďƌĞĂŬ͟Žƌ͞ƐƉůŝƚ͟ŝŶƐĞƌǀŝĐĞ;ǁŝƚŚŵŽƌĞĞǆƚĞŶƐŝǀĞĚŽĐƵŵĞŶƚĂƚŝŽŶĨŽƌ
  ƌĞƉĂŝƌͿǁŚĞƌĞƚŚĞŽůĚƉĂƌƚŵƵƐƚďĞŵĂŝŶƚĂŝŶĞĚĨŽƌƐĞƌǀŝĐŝŶŐǀĞŚŝĐůĞƐŵĂĚĞƉƌŝŽƌƚŽƚŚĞƐƉůŝƚĂŶĚƚŚĞŶĞǁ
  ƉĂƌƚǁŽƵůĚďĞŶĞĞĚĞĚĨŽƌƐĞƌǀŝĐŝŶŐǀĞŚŝĐůĞƐĂĨƚĞƌƚŚĞƐƉůŝƚ͘

  /ŶƚŚĞĂƵƚŽŵŽƚŝǀĞĐŽŶƚĞǆƚǁŝƚŚŵǇĞǆƉĞƌŝĞŶĐĞĂƚ&ŽƌĚ͕Ă&&&ĞǀĂůƵĂƚŝŽŶǁŽƵůĚŝŶĐůƵĚĞĐŽŶƐŝĚĞƌĂƚŝŽŶƐƵĐŚ
  ĂƐ͗

         x   &Žƌŵ͘ dŚĞ ĚĞƐŝŐŶ ĐŚĂŶŐĞ ŵĂǇ ŝŶĐůƵĚĞ ƚŚĞ ĨŽƌŵ ŽĨ ƚŚĞ ƉĂƌƚ͕ ŝŶĐůƵĚŝŶŐ ƐŚĂƉĞ͕ ĚŝŵĞŶƐŝŽŶƐ͕
             ŵĂƚĞƌŝĂůƐ͕ŽƌĨŝŶŝƐŚĞƐ͘

                 o    &ŽƌĞǆĂŵƉůĞ͕ŝĨĂĚĞƐŝŐŶĐŚĂŶŐĞŝŶǀŽůǀĞĚĂĚĚŝŶŐĂƐƵƌĨĂĐĞĐŽĂƚŝŶŐƚŽŝŵƉƌŽǀĞĐŽƌƌŽƐŝŽŶ
                      ƌĞƐŝƐƚĂŶĐĞ͕ ƚŚĂƚ ĐŚĂŶŐĞ ǁŽƵůĚ ůŝŬĞůǇ ďĞ ĞƋƵŝǀĂůĞŶƚ ĨŽƌ &&& ĂŶĚ ƚŚĞ ŶĞǁ ƉĂƌƚǁŽƵůĚ ďĞ
                      ďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘

                 o    ,ŽǁĞǀĞƌ͕ ĨŽƌĞǆĂŵƉůĞ͕ ŝĨ ĂĚĞƐŝŐŶ ĐŚĂŶŐĞ ŝŶǀŽůǀĞĚ ĐŚĂŶŐŝŶŐƚŚĞ ŵĂƚĞƌŝĂů ĨƌŽŵ Ă ŚŝŐŚͲ
                      ŐƌĂĚĞƐƚĞĞůƚŽĂůŽǁĞƌͲŐƌĂĚĞƐƚĞĞůŽƌƉůĂƐƚŝĐ͕ƚŚĂƚĐŚĂŶŐĞǁŽƵůĚŶŽƚůŝŬĞůǇďĞĞƋƵŝǀĂůĞŶƚ
                      ĨŽƌ&&&ĂŶĚƚŚĞŶĞǁƉĂƌƚǁŽƵůĚŶŽƚďĞďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘

         x   &ŝƚ͘dŚĞĚĞƐŝŐŶĐŚĂŶŐĞŵĂǇĂĨĨĞĐƚŚŽǁƚŚĞƉĂƌƚĐŽŶŶĞĐƚƐƚŽŽƚŚĞƌƉĂƌƚƐŽƌĨŝƚƐǁŝƚŚŝŶĂŶĂƐƐĞŵďůǇ
             ŽĨƉĂƌƚƐ͘

                 o    &ŽƌĞǆĂŵƉůĞ͕ŝĨĂĚĞƐŝŐŶĐŚĂŶŐĞŝŶǀŽůǀĞĚŽƉĞŶŝŶŐƵƉĂĚŝŵĞŶƐŝŽŶĂůƚŽůĞƌĂŶĐĞĨŽƌĂďŽůƚ
                      ŚŽůĞƚŽďĞŵŽƌĞĂĐĐŽŵŵŽĚĂƚŝŶŐĨŽƌŵĂŶƵĨĂĐƚƵƌŝŶŐǀĂƌŝĂŶĐĞĂŶĚĞĂƐĞŽĨĂƐƐĞŵďůǇ͕ƚŚĂƚ
                      ĐŚĂŶŐĞ ǁŽƵůĚ ůŝŬĞůǇ ďĞ ĞƋƵŝǀĂůĞŶƚ ĨŽƌ &&& ĂŶĚ ƚŚĞ ŶĞǁ ƉĂƌƚ ǁŽƵůĚ ďĞ ďĂĐŬǁĂƌĚ
                      ĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘

                 o    ,ŽǁĞǀĞƌ͕ĨŽƌĞǆĂŵƉůĞ͕ŝĨĂĚĞƐŝŐŶĐŚĂŶŐĞŝŶǀŽůǀĞĚĐŚĂŶŐŝŶŐĂŶĞůĞĐƚƌŝĐĂůĐŽŶŶĞĐƚŽƌŽŶĂ
                      ǁŝƌĞŚĂƌŶĞƐƐƚŽŝŶĐŽƌƉŽƌĂƚĞĂŶĞǁƐĞůĨͲůŽĐŬŝŶŐĨĞĂƚƵƌĞ͕ƚŚĂƚĐŚĂŶŐĞǁŽƵůĚůŝŬĞůǇŶŽƚďĞ
                      ĞƋƵŝǀĂůĞŶƚĨŽƌ&&&ĂŶĚƚŚĞŶĞǁƉĂƌƚǁŽƵůĚŶŽƚďĞďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘
                                         
  ϲ
      ŚƚƚƉƐ͗ͬͬǁǁǁ͘ĞĐĨƌ͘ŐŽǀͬĐƵƌƌĞŶƚͬƚŝƚůĞͲϮϮͬĐŚĂƉƚĞƌͲ/ͬƐƵďĐŚĂƉƚĞƌͲDͬƉĂƌƚͲϭϮϬͬƐƵďƉĂƌƚͲͬƐĞĐƚŝŽŶͲϭϮϬ͘ϰϮ


                                                                                                                         ϰ
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                                                             


      x    &ƵŶĐƚŝŽŶ͘dŚĞĚĞƐŝŐŶĐŚĂŶŐĞŵĂǇĂĨĨĞĐƚŚŽǁƚŚĞƉĂƌƚĨƵŶĐƚŝŽŶƐ͘

               o    &Žƌ ĞǆĂŵƉůĞ͕ ŝĨ ĂĚĞƐŝŐŶ ĐŚĂŶŐĞ ŝŶǀŽůǀĞĚ ŝŶĐƌĞĂƐŝŶŐůŽĂĚ ĐĂƉĂĐŝƚǇ ŽĨ ĂďĞĂƌŝŶŐďĞǇŽŶĚ
                    ŵŝŶŝŵƵŵĚĞƐŝŐŶƌĞƋƵŝƌĞŵĞŶƚƐ͕ƚŚĂƚĐŚĂŶŐĞŵĂǇďĞĞƋƵŝǀĂůĞŶƚĨŽƌ&&&ĂŶĚƚŚĞŶĞǁƉĂƌƚ
                    ǁŽƵůĚďĞďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘

               o    ,ŽǁĞǀĞƌ͕ĨŽƌĞǆĂŵƉůĞ͕ŝĨĂĚĞƐŝŐŶĐŚĂŶŐĞŝŶǀŽůǀĞĚĐŚĂŶŐŝŶŐĂǁŝƌĞŚĂƌŶĞƐƐƚŽĨĞĞĚϰǁŝƌĞƐ
                    ƚŽĂƐĞŶƐŽƌŝŶƐƚĞĂĚŽĨϯǁŝƌĞƐ͕ƚŚĂƚĐŚĂŶŐĞǁŽƵůĚůŝŬĞůǇŶŽƚďĞĞƋƵŝǀĂůĞŶƚĨŽƌ&&&ĂŶĚƚŚĞ
                    ŶĞǁƉĂƌƚǁŽƵůĚŶŽƚďĞďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͘

  /ŶƚŚĞ&ŽƌĚĞŶŐŝŶĞĞƌŝŶŐĐŚĂŶŐĞĐŽŶƚƌŽůƐǇƐƚĞŵ͕ĂƉĂƌƚĚĞƐŝŐŶĐŚĂŶŐĞǁŚĞƌĞ&&&ǁĂƐĞƋƵŝǀĂůĞŶƚĂŶĚƚŚĞ
  ŶĞǁƉĂƌƚǁĂƐďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚǁŽƵůĚƌĞƐƵůƚŝŶĂŵŝŶŽƌĐŚĂŶŐĞƚŽƚŚĞĞŶŐŝŶĞĞƌŝŶŐ
  ƉĂƌƚ ŶƵŵďĞƌ͕ ǁŝƚŚ ƚŚĞ ƐƵĨĨŝǆ ŽĨ ƚŚĞ ƉĂƌƚ ŶƵŵďĞƌƐ ĐŚĂŶŐŝŶŐ ĨƌŽŵ ͞Ͳ͟ ƚŽ ͞Ͳ͘͟ Ɛ ĂŶ ĞǆĂŵƉůĞ͕
  ĞŶŐŝŶĞĞƌŝŶŐ ƉĂƌƚ ŶƵŵďĞƌ ϵ&ͲϲϭϬϴͲ ǁŽƵůĚ ďĞĐŽŵĞ ϵ&ͲϲϭϬϴͲ͘ ,ŽǁĞǀĞƌ͕ ŝĨ ƚŚĞ ƉĂƌƚ ĚĞƐŝŐŶ
  ĐŚĂŶŐĞŵĞĂŶƚ&&&ǁĂƐŶŽƚĞƋƵŝǀĂůĞŶƚ͕ĂŶĚƚŚĞŶĞǁƉĂƌƚǁĂƐŶŽƚďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ͕ŝƚ
  ǁŽƵůĚƌĞƐƵůƚŝŶĂŵĂũŽƌĐŚĂŶŐĞƚŽƚŚĞĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚŶƵŵďĞƌǁŝƚŚƚŚĞƐƵĨĨŝǆĐŚĂŶŐŝŶŐĨƌŽŵ͞Ͳ͟ƚŽ͞Ͳ
  ͘͟ƐĂŶĞǆĂŵƉůĞ͕ĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚŶƵŵďĞƌϵ&ͲϲϭϬϴͲǁŽƵůĚďĞĐŽŵĞϵ&ͲϲϭϬϴͲĂŶĚĂďƌĞĂŬ
  ǁŽƵůĚďĞŵĂĚĞďĞƚǁĞĞŶ͞Ͳ͟ĂŶĚ͞Ͳ͟ƵƐĂŐĞŝŶƉƌŽĚƵĐƚŝŽŶĂŶĚƐĞƌǀŝĐĞ͘/ĨƚŚĞŵĂũŽƌƉĂƌƚĐŚĂŶŐĞŝƐ
  ĞǀĞŶŵŽƌĞƐŝŐŶŝĨŝĐĂŶƚ͕ĂŶĞǁĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚŶƵŵďĞƌƉƌĞĨŝǆǁŽƵůĚďĞĂƐƐŝŐŶĞĚ͘&ŽƌĞǆĂŵƉůĞ͕ƚŚĞŽůĚƉĂƌƚ
  ŶƵŵďĞƌϵ&ͲϲϭϬϴͲďĞĐŽŵĞƐƚŚĞŶĞǁƉĂƌƚŶƵŵďĞƌ&ϮͲϲϭϬϴͲ͘

  ƚ&ŽƌĚ͕ƚŚĞƐĞĚĞƐŝŐŶĐŚĂŶŐĞƐǁĞƌĞĂůƐŽĐŽŶƐŝĚĞƌĞĚĂŶĚŝŵƉůĞŵĞŶƚĞĚŝŶƐĞƌǀŝĐĞƌĞƉĂŝƌƉƌŽĐĞĚƵƌĞƐĂŶĚ
  ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƐ͘^ĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƐǁĞƌĞŶŽƚƚŚĞƐĂŵĞĂƐĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚŶƵŵďĞƌƐďƵƚĨŽůůŽǁĞĚ
  ƐŝŵŝůĂƌĐŚĂŶŐĞĐŽŶƚƌŽůƉƌŽĐĞƐƐĞƐ͘dŚĞƐĞƉĂƌĂƚŝŽŶŽĨƐĞƌǀŝĐĞĂŶĚĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚŶƵŵďĞƌƐƌĞĨůĞĐƚĞĚƚŚĞ
  ĚŝĨĨĞƌĞŶƚŶĂƚƵƌĞŽĨŝŵƉůĞŵĞŶƚŝŶŐĂĚĞƐŝŐŶĐŚĂŶŐĞŝŶŵĂŶƵĨĂĐƚƵƌŝŶŐ͕ǁŚĞƌĞĂĨĂĐƚŽƌǇŵĂǇďĞƉƌŽĚƵĐŝŶŐ
  ŽǀĞƌϭϬϬĞŶŐŝŶĞƐƉĞƌŚŽƵƌĂŶĚĂĐŚĂŶŐĞŝƐƌĂƉŝĚůǇŝŵƉůĞŵĞŶƚĞĚ͕ǀĞƌƐƵƐƐĞƌǀŝĐĞ͕ǁŚĞƌĞĚĞƐŝŐŶĐŚĂŶŐĞƐ
  ŵĂǇŝŵƉĂĐƚƐĞƌǀŝĐĞƉƌŽĐĞĚƵƌĞƐĂŶĚƚƌĂŝŶŝŶŐĨŽƌĚĞĂůĞƌƐŚŝƉƚĞĐŚŶŝĐŝĂŶƐ͕ĂƐǁĞůůĂƐƉƌŽĐƵƌŝŶŐ͕ǁĂƌĞŚŽƵƐŝŶŐ͕
  ĚŝƐƚƌŝďƵƚŝŶŐ͕ĂŶĚƌĞƚĂŝůƐĂůĞƐŽĨƐĞƌǀŝĐĞƉĂƌƚƐ͘ƚ&ŽƌĚ͕ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƐǁĞƌĞƐŝŵŝůĂƌƚŽĞŶŐŝŶĞĞƌŝŶŐ
  ƉĂƌƚŶƵŵďĞƌƐ͕ďƵƚŐĞŶĞƌĂůůǇĐŽŶƚĂŝŶĞĚĂ͞͟ŝŶƚŚĞƉƌĞĨŝǆĂƐĂĐůĞĂƌŝĚĞŶƚŝĨŝĞƌƚŚĂƚƚŚŝƐǁĂƐĂƐĞƌǀŝĐĞƉĂƌƚ͘
  &Žƌ ĞǆĂŵƉůĞ͕ ĞŶŐŝŶĞĞƌŝŶŐ ƉĂƌƚ ϵ&ͲϲϭϬϴͲ ŵĂǇ ŚĂǀĞ ĐŽƵŶƚĞƌƉĂƌƚ ƐĞƌǀŝĐĞ ƉĂƌƚ ϵͲϲϭϬϴͲ͘ Ɛ
  ŝůůƵƐƚƌĂƚĞĚĂďŽǀĞ͕ŝĨĂŶĞŶŐŝŶĞĞƌŝŶŐƉĂƌƚĚĞƐŝŐŶĐŚĂŶŐĞǁĂƐĞƋƵŝǀĂůĞŶƚĨŽƌ&&&ĂŶĚďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞ
  ƌĞƐƵůƚŝŶŐ ŝŶ Ă ŵŝŶŽƌ ƉĂƌƚ ŶƵŵďĞƌ ĐŚĂŶŐĞ ;Ğ͘Ő͕͘ ϵ&ͲϲϭϬϴͲ ĂĚǀĂŶĐĞĚ ƚŽ ϵ&ͲϲϭϬϴͲͿ͕ ƚŚĞŶ ƚŚĞ
  ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌǁŽƵůĚŶŽƚĐŚĂŶŐĞ;Ğ͘Ő͕͘ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƌĞŵĂŝŶĞĚϵͲϲϭϬϴͲͿ͘/ŶƚŚĂƚĐĂƐĞ͕
  ĞǆŝƐƚŝŶŐ ƐƚŽĐŬ ŽĨ ƚŚĞ ŽůĚ ƉĂƌƚ ĐŽƵůĚ ďĞ ĞǆŚĂƵƐƚĞĚ ĂƐ ŝƚ ƐŽůĚ͕ ĂŶĚ ƚŚĞ ŶĞǁ ƉĂƌƚ ƐƵďƐƚŝƚƵƚĞĚ ĨŽƌ ƐĞƌǀŝĐĞ
  ƉƵƌƉŽƐĞƐǁŝƚŚŽƵƚĐŽŽƌĚŝŶĂƚŝŽŶ;Ğ͘Ő͕͘ǁŝƚŚŽƵƚĐŚĂŶŐŝŶŐƐĞƌǀŝĐĞƉƌŽĐĞĚƵƌĞƐŽƌƌĞƚĂŝůƐĂůĞƐĚŽĐƵŵĞŶƚĂƚŝŽŶͿ͘

  ,ŽǁĞǀĞƌ͕ŝĨ&&&ǁĂƐŶŽƚĞƋƵŝǀĂůĞŶƚĂŶĚƚŚĞŶĞǁƉĂƌƚǁĂƐŶŽƚďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌƚŚĞŽůĚƉĂƌƚ;Ğ͘Ő͕͘
  ĞŶŐŝŶĞĞƌŝŶŐϵ&ͲϲϭϬϴͲĂĚǀĂŶĐĞĚƚŽϵ&ͲϲϭϬϴͲͿ͕ƚŚĞŶƚŚĞŶĂďƌĞĂŬǁĂƐĚŽĐƵŵĞŶƚĞĚĨŽƌƐĞƌǀŝĐĞ
  ƉƵƌƉŽƐĞƐ ĂŶĚ ďŽƚŚ ƚŚĞ ŽůĚ ƐĞƌǀŝĐĞ ƉĂƌƚ ;Ğ͘Ő͕͘ ϵͲϲϭϬϴͲͿ ĂŶĚ Ă ŶĞǁ ƐĞƌǀŝĐĞ ƉĂƌƚ ;Ğ͘Ő͕͘ϵͲϲϭϬϴͲͿ
  ǁŽƵůĚďĞƵƚŝůŝǌĞĚ͘dŚŝƐƌĞƋƵŝƌĞĚĞǆƚĞŶƐŝǀĞĚŽĐƵŵĞŶƚĂƚŝŽŶĨŽƌƐĞƌǀŝĐĞƚŽŝĚĞŶƚŝĨǇǁŚĞŶƚŚĞƐƉůŝƚǁĂƐŵĂĚĞ
  ŝŶƉƌŽĚƵĐƚŝŽŶĂŶĚŵĞĂŶƚƚǁŽĚŝĨĨĞƌĞŶƚƐĞƌǀŝĐĞƉĂƌƚƐŚĂĚƚŽďĞƉƌŽĐƵƌĞĚ͕ǁĂƌĞŚŽƵƐĞĚ͕ĚŝƐƚƌŝďƵƚĞĚ͕ĂŶĚ
  ĐĂƚĂůŽŐĞĚ ĨŽƌ ƐĂůĞ͘ ĞĐĂƵƐĞ ŽĨ ƚŚĞ ĂƐƐŽĐŝĂƚĞĚ ĐŽŵƉůĞǆŝƚǇ ĂŶĚ ĐŽƐƚƐ͕ ĞƋƵŝǀĂůĞŶƚ &&& ĂŶĚ ďĂĐŬǁĂƌĚ
  ĐŽŵƉĂƚŝďŝůŝƚǇǁĂƐŚŝŐŚůǇĞŶĐŽƵƌĂŐĞĚ͕ǁŝƚŚƐƉůŝƚƐďĞƚǁĞĞŶŽůĚĂŶĚŶĞǁŐĞŶĞƌĂƚŝŽŶ;ŝŶĐŽŵƉĂƚŝďůĞͿĚĞƐŝŐŶƐ
  ĂŶĚŝŶĐƌĞĂƐŝŶŐĐŽŵƉůĞǆŝƚǇŽĨƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƐĂƉƉƌŽǀĞĚŽŶůǇǁŚĞŶƚŚĞǇĐŽƵůĚŶŽƚďĞĂǀŽŝĚĞĚ͘dŚĞƐĞ
  ŵĂũŽƌ ƐĞƌǀŝĐĞ ƉĂƌƚ ŶƵŵďĞƌ ĐŚĂŶŐĞƐ ĂŶĚ ƐƉůŝƚƐ ǁĞƌĞ ĂůŵŽƐƚ ĂůǁĂǇƐ ĐŽŽƌĚŝŶĂƚĞĚ ǁŝƚŚ ďƌĞĂŬƐ ďĞƚǁĞĞŶ



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  ŵŽĚĞůǇĞĂƌƐ͘/ŶŵǇŽǀĞƌĚĞĐĂĚĞůŽŶŐĐĂƌĞĞƌĂƚ&ŽƌĚ͕/ǁĂƐŶĞǀĞƌŝŶǀŽůǀĞĚŝŶĂŵĂũŽƌƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌ
  ƐƉůŝƚŵŝĚͲŵŽĚĞůǇĞĂƌ͘^ƵĐŚĂĚĞƐŝŐŶĐŚĂŶŐĞǁŝƚŚŝŶĂŵŽĚĞůǇĞĂƌǁŽƵůĚŚĂǀĞƌĞƋƵŝƌĞĚĞǆƚĞŶƐŝǀĞƐĞƌǀŝĐĞ
  ĞŶŐŝŶĞĞƌŝŶŐĞĨĨŽƌƚ;Ğ͘Ő͕͘ƐĂŵĞŵŽĚĞůǇĞĂƌǀĞŚŝĐůĞƐƌĞƋƵŝƌŝŶŐĚŝĨĨĞƌĞŶƚŐĞŶĞƌĂƚŝŽŶƐĞƌǀŝĐĞƉĂƌƚƐ͕ŝĚĞŶƚŝĨŝĞĚ
  ďǇĂǀĞŚŝĐůĞŝĚĞŶƚŝĨŝĐĂƚŝŽŶŶƵŵďĞƌ;s/EͿĐƵƚŽĨĨͿ͘

  tŚŝůĞ ƚŚĞ ĂďŽǀĞ ĞǆĂŵƉůĞ ŝůůƵƐƚƌĂƚĞĚ &ŽƌĚ͛Ɛ ĞŶŐŝŶĞĞƌŝŶŐ ĂŶĚ ƐĞƌǀŝĐĞ ĐŚĂŶŐĞ ĐŽŶƚƌŽů ƉƌŽĐĞƐƐĞƐ ĨŽƌ ƉĂƌƚ
  ŶƵŵďĞƌƐ͕ŵǇĞǆƉĞƌŝĞŶĐĞŬŶŽǁŝŶŐĂŶĚƐƚƵĚǇŝŶŐǁŝƚŚĞŶŐŝŶĞĞƌŝŶŐƉĞĞƌƐĂƚ'ĞŶĞƌĂůDŽƚŽƌƐĂŶĚŚƌǇƐůĞƌ
  ĐŽŶĨŝƌŵĞĚƚŚĂƚŽƚŚĞƌƐŝŶƚŚĞŝŶĚƵƐƚƌǇƵƐĞĚƐŝŵŝůĂƌĞǀĂůƵĂƚŝŽŶŽĨ&&&ĨŽƌďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďŝůŝƚǇĂŶĚƉĂƌƚ
  ŶƵŵďĞƌĐŚĂŶŐĞĐŽŶƚƌŽůƉƌĂĐƚŝĐĞƐ͕ĞǀĞŶŝĨƚŚĞƐƉĞĐŝĨŝĐƉĂƌƚŶƵŵďĞƌŝŶŐŵĞƚŚŽĚƐƚŚĞŵƐĞůǀĞƐĚŝĨĨĞƌĞĚ͘

  ,ĞƌĞ͕ƚŚĞĨĂĐƚƚŚĂƚĂƐŝŶŐůĞƐĞƌǀŝĐĞƉĂƌƚ͕ϲϴϰϴϴϭϴϵ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͕ϳŝƐĐŽŵƉĂƚŝďůĞĨŽƌĂůůůĂƐƐsĞŚŝĐůĞƐ
  ƌĞĂĨĨŝƌŵƐƚŚĂƚĂůůƚǁĞŶƚǇͲĨŝǀĞǀĞƌƐŝŽŶƐŽĨƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƐŚĂƌĞƚŚĞƐĂŵĞ&&&͘/ĨƚŚĂƚǁĞƌĞŶŽƚƚŚĞ
  ĐĂƐĞ͕ĂĚŝĨĨĞƌĞŶƚƐĞƌǀŝĐĞƉĂƌƚǁŽƵůĚďĞƌĞƋƵŝƌĞĚĨŽƌƵƐĞŝŶŽůĚĞƌǀĞŚŝĐůĞƐǁŚĞƌĞƚŚĞƵƉĚĂƚĞĚƉĂƌƚ͛ƐĚĞƐŝŐŶ
  ĂŶĚ ŵĂŶƵĨĂĐƚƵƌŝŶŐ ĐŚĂŶŐĞƐ ƌĞŶĚĞƌĞĚ ŝƚ ŝŶĐŽŵƉĂƚŝďůĞ ǁŝƚŚ ŽůĚĞƌ ŐĞŶĞƌĂƚŝŽŶ ǀĞŚŝĐůĞƐ͘ EŝŶĞƚĞĞŶ ƉĂƌƚ
  ŶƵŵďĞƌĐŚĂŶŐĞƐǁĞƌĞŵĂĚĞƚŽƚŚĞDzϮϬϭϳ,sďĂƚƚĞƌǇƉĂĐŬĂůŽŶĞ͕ǁŝƚŚƚŚĞƉĂƌƚŶƵŵďĞƌƐƐĞƋƵĞŶĐŝŶŐ
  ĨƌŽŵ Ϭϱϵϯϭϵϭϰϭ ĞŶĚŝŶŐ ŝŶ ͞͟ ƚŚƌŽƵŐŚ ͞t͟ ;&ŝŐƵƌĞ ϭ ĂŶĚ &ŝŐƵƌĞ ϮͿ͘ Ɛ ĞǆƉůĂŝŶĞĚ ĂďŽǀĞ͕ ŝŶ ŵǇ
  ĞǆƉĞƌŝĞŶĐĞ ĂƐ Ă ƉŽǁĞƌƚƌĂŝŶ ĞŶŐŝŶĞĞƌ Ăƚ &ŽƌĚ DŽƚŽƌ ŽŵƉĂŶǇ ĂŶĚ ǁŝƚŚ ĂŶ ƵŶĚĞƌƐƚĂŶĚŝŶŐ ŽĨ ĐŽŵŵŽŶ
  ŝŶĚƵƐƚƌǇƉƌĂĐƚŝĐĞƐ͕ƚŚŝƐƚǇƉĞŽĨƉĂƌƚŶƵŵďĞƌƐƵĨĨŝǆƉƌŽŐƌĞƐƐŝŽŶƐŝŐŶŝĨŝĞƐďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďŝůŝƚǇ͕ǁŚĞƌĞƚŚĞ
  ŶĞǁƉĂƌƚŝƐĐŽŵƉĂƚŝďůĞŝŶ&&&ǁŝƚŚƚŚĞŽůĚƉĂƌƚ͘^Ž͕ǁŚŝůĞƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬŝŶĂDzϮϬϭϳWĂĐŝĨŝĐĂW,s
  ĂƚƚŚĞƐƚĂƌƚŽĨƉƌŽĚƵĐƚŝŽŶǁĂƐŶŽƚŝĚĞŶƚŝĐĂůƚŽƚŚĞŽŶĞŝŶĂůĂƚĞƌͲƉƌŽĚƵĐĞĚDzϮϬϭϳŽƌDzϮϬϭϴWĂĐŝĨŝĐĂ
  W,s͕ƚŚĞďĂƚƚĞƌǇƉĂĐŬǁĂƐƐƵďƐƚĂŶƚŝĂůůǇƐŝŵŝůĂƌƐƵĐŚƚŚĂƚƚŚĞĐŚĂŶŐĞƐŽǀĞƌƚŝŵĞĚŝĚŶŽƚĂůƚĞƌƚŚĞƉĂƌƚ͛Ɛ
  &&&ĂŶĚĂƐŝŶŐůĞĐŽŵŵŽŶƐĞƌǀŝĐĞƉĂƌƚǁŽƌŬƐŝŶĞĂĐŚŽĨƚŚŽƐĞǀĞŚŝĐůĞƐ͘

  ĚĚŝƚŝŽŶĂůůǇ͕ ƚŚĞ DzϮϬϭϴ ,s ďĂƚƚĞƌǇ ƉĂĐŬ ƉĂƌƚ ŶƵŵďĞƌ ĐŚĂŶŐĞĚ Ɛŝǆ ƚŝŵĞƐ ;&ŝŐƵƌĞ ϭ ĂŶĚ &ŝŐƵƌĞ ϮͿ͕
  ƉƌŽŐƌĞƐƐŝŶŐĨƌŽŵϲϴϯϵϰϬϮϳ͕ĞŶĚŝŶŐŝŶ͞͟ƚŚƌŽƵŐŚ͞:͘͟/ŶŵǇŝŶǀĞƐƚŝŐĂƚŝŽŶƚŽĐŽŶĨŝƌŵǁŚĞƚŚĞƌƉĂƌƚ
  ŶƵŵďĞƌ ϲϴϯϵϰϬϮϳ ;ƚŚĞ ĨŝƌƐƚ DzϮϬϭϴ ,s ďĂƚƚĞƌǇ ƉĂĐŬͿ ǁĂƐ ďĂĐŬǁĂƌĚ ĐŽŵƉĂƚŝďůĞ ĨŽƌ &&& ǁŝƚŚ ƉĂƌƚ
  ŶƵŵďĞƌϬϱϵϯϭϵϭϰϭt;ƚŚĞůĂƐƚDzϮϬϭϳ,sďĂƚƚĞƌǇƉĂĐŬƉĂƌƚŶƵŵďĞƌͿ͕/ůĞĂƌŶĞĚƚŚĂƚƚŚĞϵͲĚŝŐŝƚŶƵŵďĞƌ
  ĐŚĂŶŐĞĂĐƌŽƐƐƚŚĞƉĂƌƚŶƵŵďĞƌƐƐŝŐŶŝĨŝĞĚĂůĂƌŐĞƌĚĞƐŝŐŶĐŚĂŶŐĞ͕ƚǇƉŝĐĂůůǇĐŽŽƌĚŝŶĂƚĞĚĂŶĚďƵŶĚůĞĚǁŝƚŚ
  ŽƚŚĞƌĐŚĂŶŐĞƐĨŽƌĂŶĞǁŵŽĚĞůǇĞĂƌĂŶĚƌĞƋƵŝƌŝŶŐĂ&ĂŝůƵƌĞDŽĚĞĨĨĞĐƚƐŶĂůǇƐŝƐ;&DͿƌĞǀŝĞǁĂŶĚ
  ƵƉĚĂƚĞĚĞƐŝŐŶsĞƌŝĨŝĐĂƚŝŽŶWůĂŶĂŶĚZĞƉŽƌƚ;sWΘZͿ͘,ŽǁĞǀĞƌ͕ƚŚĞ&&&ĨŽƌďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďŝůŝƚǇǁŽƵůĚ
  Ɛƚŝůů ďĞ ƌĞĨůĞĐƚĞĚ ŝŶ ƚŚĞ ĂƉƉůŝĐĂďůĞ ƐĞƌǀŝĐĞ ƉĂƌƚ ŶƵŵďĞƌ͘ /Ĩ Ă ƐŝŶŐůĞ ƐĞƌǀŝĐĞ ƉĂƌƚ ŶƵŵďĞƌ ĐŽǀĞƌĞĚ ďŽƚŚ
  DzϮϬϭϳĂŶĚDzϮϬϭϴǀĞŚŝĐůĞƐ͕ƚŚĂƚƐŝŐŶŝĨŝĞƐƚŚĞŶĞǁDzϮϬϭϴ,sďĂƚƚĞƌǇƉĂĐŬŝƐďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌ
  &&& ǁŝƚŚ ƉƌŝŽƌ ǀĞƌƐŝŽŶƐͬƉĂƌƚ ŶƵŵďĞƌƐ͘ KƚŚĞƌǁŝƐĞ͕ ƚǁŽ ƐĞƌǀŝĐĞ ƉĂƌƚƐ ǁŽƵůĚ ďĞ ĐƌĞĂƚĞĚ͕ ŽŶĞ ƐĞƌǀŝĐŝŶŐ
  ǀĞŚŝĐůĞƐďĞĨŽƌĞƚŚĞĐŽŵƉĂƚŝďŝůŝƚǇƐƉůŝƚĂŶĚĂŶŽƚŚĞƌŽŶĞƐĞƌǀŝĐŝŶŐǀĞŚŝĐůĞƐĂĨƚĞƌƚŚĞƐƉůŝƚ͘ŶĚƚŚĞĨĂĐƚƚŚĂƚ
  ƚŚĞƐĞƌǀŝĐĞƉĂƌƚ;ƚŚĞ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚͿĐĂŶƐŝŵƉůǇƐǁĂƉŝŶƚŚĞ͞ŶĞǁĞƐƚ͟,sďĂƚƚĞƌǇϴŝŶĚŝĐĂƚĞƐƚŚĂƚƚŚĞƐĞ
  ,sďĂƚƚĞƌŝĞƐĂƌĞ&&&ĞƋƵŝǀĂůĞŶƚ͘

  Ɛ/ƉƌĞǀŝŽƵƐůǇŽƉŝŶĞĚ͕ĂƐŝŶŐůĞ,sďĂƚƚĞƌǇŬŝƚƐĞƌǀŝĐĞƉĂƌƚ;^<h͗ϲϴϰϴϴϭϴϵͿ͕ŝƐĐŽŵƉĂƚŝďůĞǁŝƚŚĂůůůĂƐƐ
  sĞŚŝĐůĞƐ͘dŽĚĂƚĞ͕&͛ƐŽƌŝŐŝŶĂůĞƋƵŝƉŵĞŶƚŵĂŶƵĨĂĐƚƵƌĞƌDŽƉĂƌƐƚŝůůůŝƐƚƐƚŚĞϲϴϰϴϴϭϴϵ,ǇďƌŝĚĂƚƚĞƌǇ
  <ŝƚƐĞƌǀŝĐĞƉĂƌƚĂƐƚŚĞƌĞƉůĂĐĞŵĞŶƚƉĂƌƚĨŽƌDzϮϬϭϳͲDzϮϬϮϱWĂĐŝĨŝĐĂ,ǇďƌŝĚǀĞŚŝĐůĞƐ;&ŝŐƵƌĞϯͿ͘


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   dŚĞ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚĐŽŶƚĂŝŶƐƚŚĞ͞ŶĞǁĞƐƚ͟,sďĂƚƚĞƌǇ͕ĂŶ/Ͳ^ŚĞĞƚ͕ĂŶĚĂŵĂŶƵĂůƐĞƌǀŝĐĞĚŝƐĐŽŶŶĞĐƚƐĞƌǀŝĐĞŬŝƚ͘
  ^ĞĞ͕Ğ͘Ő͕͘&ͺWĂĐŝĨŝĐĂͺD>ͲϬϭϲϱϯϴ;ŚĂŶŐĞEŽƚŝĐĞtŽƌŬƐŚĞĞƚͿ͘
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   ^ĞĞ͕Ğ͘Ő͕͘&ͺWĂĐŝĨŝĐĂͺD>ͲϬϭϲϱϯϴ;ŚĂŶŐĞEŽƚŝĐĞtŽƌŬƐŚĞĞƚͿ͘


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                     &ŝŐƵƌĞϯ͘DŽƉĂƌǁĞďƐŝƚĞƐĐƌĞĞŶƐŚŽƚĨŽƌƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƐĞƌǀŝĐĞƉĂƌƚ͘ϵ

  dŽĨƵƌƚŚĞƌǀĞƌŝĨǇŵǇĨŝŶĚŝŶŐƐƌĞŐĂƌĚŝŶŐƚŚĞĂƉƉƌŽƉƌŝĂƚĞƐĞƌǀŝĐĞƉĂƌƚ͕ϭϬ/ĂůƐŽƌĞƐĞĂƌĐŚĞĚƚŚĞĐƵƌƌĞŶƚƐĞƌǀŝĐĞ
  ƉĂƌƚƐĨŽƌƚŚƌĞĞWĂĐŝĨŝĐĂW,sƐǀŝĂĂƉĂŝĚƐƵďƐĐƌŝƉƚŝŽŶƉŽƌƚĂůĨŽƌŝŶĚĞƉĞŶĚĞŶƚŵĞĐŚĂŶŝĐƐƚŽǀŝĞǁĐƵƌƌĞŶƚ
  ^ƚĞůůĂŶƚŝƐKDĚŝĂŐŶŽƐƚŝĐƐ͕ƐĞƌǀŝĐĞŝŶƐƚƌƵĐƚŝŽŶƐ͕ĂŶĚƐĞƌǀŝĐĞƉĂƌƚƐ͘ϭϭ^ƉĞĐŝĨŝĐĂůůǇ͕/ůŽĐĂƚĞĚĂŶĚĐŽŵƉĂƌĞĚ
  ƚŚĞ,sďĂƚƚĞƌǇŬŝƚŶƵŵďĞƌƐĨŽƌƚŚƌĞĞǀĞŚŝĐůĞƐ͗DzϮϬϭϳWĂĐŝĨŝĐĂW,s;&ŝŐƵƌĞϰͿ͖DzϮϬϭϴWĂĐŝĨŝĐĂW,s
  ;&ŝŐƵƌĞϱͿ͖ĂŶĚDzϮϬϮϯWĂĐŝĨŝĐĂW,s;&ŝŐƵƌĞϲͿ͘




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   ŚƚƚƉƐ͗ͬͬƐƚŽƌĞ͘ŵŽƉĂƌ͘ĐŽŵͬŽĞŵͲƉĂƌƚƐͬŵŽƉĂƌͲŵŝůĚͲŚǇďƌŝĚͲŵŽƚŽƌͲŐĞŶĞƌĂƚŽƌͲƵŶŝƚͲŵŐƵͲďĂƚƚĞƌǇͲƉĂĐŬͲ
  ϲϴϰϴϴϭϴϵĂĂ͍Đсǌϭůď'sũĚ,:ƉzϮ&Ɛ:ŶDϵzŵ&ϬĚ'sǇĞ^ϭŝzyZϬy:ϱ>yZǇzyŬƚztϱŬ>tEŚzŵǆůĐǇƐWdŵďũϭdt&ǇzϮŐŐ
  hŵsǌĚtǆϬĐǇŚWtEŽĐŶůǌď'sǇ:ŵϴϵĐ'&ũĂtƉzϮŵĞdϬǇDϰ:ŶYϵĂ,ůŝĐŵůŬ>yZǀĚy:ƉďŵĐƚĐ'ǆϭĐǇůWdDƚEŵǁƚĚũz
  ƚtǆůzϯZǇĂtDƚϮ&ǌ
  ϭϬ
    ŚƚƚƉƐ͗ͬͬƐƚŽƌĞ͘ŵŽƉĂƌ͘ĐŽŵͬ
  ϭϭ
    ŚƚƚƉƐ͗ͬͬƐƚĞůůĂŶƚŝƐŝŽƉ͘ĐŽŵͬŝŽƉͬĂƉƉͬůĂŶĚŝŶŐ


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         &ŝŐƵƌĞϰ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϭϳWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘

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         &ŝŐƵƌĞϱ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϭϴWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘

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              &ŝŐƵƌĞϲ͘KDƐƵďƐĐƌŝƉƚŝŽŶƐĞƌǀŝĐĞƉŽƌƚĂůŝŶĨŽƌŵĂƚŝŽŶĨŽƌDzϮϬϮϯWĂĐŝĨŝĐĂ,ǇďƌŝĚĂƚƚĞƌǇ<ŝƚ͘

  dŚĞ,sďĂƚƚĞƌǇŬŝƚƉĂƌƚŶƵŵďĞƌƐĨŽƌDzϮϬϭϳĂŶĚDzϮϬϭϴĂƌĞϲϴϯϬϳϯϵϲĂŶĚϲϴϯϬϳϯϵϲ,͕ƌĞƐƉĞĐƚŝǀĞůǇ͕
  ǁŚŝůĞƚŚĞ,sďĂƚƚĞƌǇŬŝƚƉĂƌƚŶƵŵďĞƌĨŽƌDzϮϬϮϯŝƐϲϴϰϴϴϭϴϵ͘ǀĞŶƚŚŽƵŐŚƚŚĞƉĂƌƚŶƵŵďĞƌƐĚŝĨĨĞƌ
  ďĞƚǁĞĞŶ ƚŚĞ ŵŽĚĞů ǇĞĂƌƐ͕ ƚŚĞ ĐƵƌƌĞŶƚ ƐĞƌǀŝĐĞ ƉĂƌƚ ŶƵŵďĞƌ ϲϴϰϴϴϭϴϵ ƌĞƉůĂĐĞƐ Ă ŶƵŵďĞƌ ŽĨ ƉƌŝŽƌ
  ǀĞƌƐŝŽŶƐ͕ ŝŶĐůƵĚŝŶŐ ϲϴϯϬϳϯϵϲ ĂŶĚ ϲϴϯϬϳϯϵϲ, ;ƚŚĞ ,s ďĂƚƚĞƌǇ Ŭŝƚ ĨŽƌ DzϮϬϭϳ ĂŶĚ DzϮϬϭϴͿ͕ ĂŶĚ
  ŵĂƚĐŚĞƐƚŚĞƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌĨŽƌƚŚĞDzϮϬϮϯ;&ŝŐƵƌĞϯͿ͘dŚŝƐĐŽŶĨŝƌŵƐƚŚĞϲϴϰϴϴϭϴϵƐĞƌǀŝĐĞƉĂƌƚ
  ŝƐďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞĨŽƌĨŽƌŵ͕Ĩŝƚ͕ĂŶĚĨƵŶĐƚŝŽŶƚŽƐĞƌǀŝĐĞDzϮϬϭϳͲϮϬϭϴWĂĐŝĨŝĐĂW,sƐ͘

  /Ŷ ŵǇ ŝŶǀĞƐƚŝŐĂƚŝŽŶ͕ / ĂůƐŽ ǀŝƐŝƚĞĚ ƚŚĞ ĞŶǀĞƌ ĂƌĞĂ & ĚĞĂůĞƌ ƵƚŽEĂƚŝŽŶ ŚƌǇƐůĞƌ ŽĚŐĞ :ĞĞƉ ZD
  ^ŽƵƚŚǁĞƐƚĂŶĚŝŶƋƵŝƌĞĚĂďŽƵƚƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌĨŽƌs/EƐĨƌŽŵĨŽƵƌWĂĐŝĨŝĐĂW,sƐ͗

        x    DzϮϬϭϳͲϮϰZϭEϳϭ,ZϴϮϮϯϭϳ

        x    DzϮϬϭϴͲϮϰZϭEϳϴ:ZϭϭϴϮϭϳ

        x    DzϮϬϮϯͲϮϰZϭ>ϳyWZϲϮϮϰϯϵ

        x    DzϮϬϮϰͲϮϰZϭEϳϱZZϮϬϬϯϲϳ

  dŚĞ&ĚĞĂůĞƌƐŚŝƉƐĞƌǀŝĐĞƉĂƌƚƐĐŽƵŶƚĞƌĐŽŶĨŝƌŵĞĚƚŚĞŝƌŽŶůŝŶĞƉĂƌƚĐĂƚĂůŽŐŝŶŐƐǇƐƚĞŵůŝƐƚĞĚƚŚĞƐĂŵĞ
  ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌĨŽƌĂůůĨŽƵƌǀĞŚŝĐůĞƐ͘

  /ŶŚŝƐĚĞƉŽƐŝƚŝŽŶƚĞƐƚŝŵŽŶǇ͕&͛ƐĞǆƉĞƌƚůĚŽŶ>ĞĂƉŚĂƌƚƐƚĂƚĞĚƚŚĂƚƚŚĞƌĞĐŽŵŵĞŶĚĞĚ,sďĂƚƚĞƌǇƉĂĐŬ
  ƐĞƌǀŝĐĞƉĂƌƚĨŽƌDzϮϬϭϴǀĞŚŝĐůĞƐŚĂĚĐŚĂŶŐĞĚĂŶĚǁĂƐŶŽůŽŶŐĞƌƚŚĞϲϴϰϴϴϭϴϵƐĞƌǀŝĐĞƉĂƌƚ͘ϭϮdŚĞďĂƐŝƐ
  ĨŽƌƚŚŝƐƉŽƐŝƚŝŽŶŝƐƵŶĐůĞĂƌĂŶĚDƌ͘>ĞĂƉŚĂƌƚ͛Ɛ&Ğď͘ϭϵ͕ϮϬϮϰƌĞƉŽƌƚĚŽĞƐŶŽƚƐƚĂƚĞŽƌĞǆƉůĂŝŶƚŚŝƐ͘/ŚĂǀĞ
  ŶŽŝŶĨŽƌŵĂƚŝŽŶƚŽĐŽŶĐůƵĚĞƚŚĞϲϴϰϴϴϭϴϵƐĞƌǀŝĐĞƉĂƌƚŝƐŶŽƚƐƵŝƚĂďůĞŽƌĐŽŵƉĂƚŝďůĞǁŝƚŚƚŚĞDzϮϬϭϴ
  WĂĐŝĨŝĐĂW,s͘/ĨƉƌĞƐĞŶƚĞĚǁŝƚŚĨƵƌƚŚĞƌŝŶĨŽƌŵĂƚŝŽŶ͕/ƌĞƐĞƌǀĞƚŚĞƌŝŐŚƚƚŽƐƵƉƉůĞŵĞŶƚŵǇŽƉŝŶŝŽŶƐ͘

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      DĂǇϭϰ͕ϮϬϮϰ͘>ĞĂƉŚĂƌƚĞƉŽƐŝƚŝŽŶdƌ͘Ăƚϭϳϱ͗ϮͲϭϴϭ͗ϭϳ͘


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  ĐŽŵŵŽŶ,sďĂƚƚĞƌǇƉĂĐŬ͕ǁŝƚŚƚŚĞĐƵƌƌĞŶƚůǇĂǀĂŝůĂďůĞ,sďĂƚƚĞƌǇƐĞƌǀŝĐĞƉĂƌƚďĞŝŶŐďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďůĞ
  ĨŽƌĂůůDzϮϬϭϳĂŶĚDzϮϬϭϴWĂĐŝĨŝĐĂW,sƐ͘

  Ϯ͘Ϯ   ;KƉŝŶŝŽŶϱ͘ϯͿ&^ĂĨĞƚǇZĞĐĂůůZĞƉŽƌƚĨŽƌDzϮϬϭϳͲϮϬϭϴŚƌǇƐůĞƌWĂĐŝĨŝĐĂ,ǇďƌŝĚsĞŚŝĐůĞƐ
        ŽǀĞƌƐůůůĂƐƐsĞŚŝĐůĞƐ

  dŚĞϳϯZĞĐĂůůƌĞĂĨĨŝƌŵƐŵǇŽƉŝŶŝŽŶƚŚĂƚĂůůůĂƐƐsĞŚŝĐůĞƐĂƌĞƐƵďũĞĐƚƚŽƌĞĐĂůůĨŽƌĨŝƌĞƌŝƐŬ͘dŚĞϳϯZĞĐĂůů
  ĞŶĐŽŵƉĂƐƐĞƐĂůůDzϮϬϭϳͲϮϬϭϴƉƌŽĚƵĐĞĚďĞƚǁĞĞŶƵŐƵƐƚϭϮ͕ϮϬϭϲ;ǁŚĞŶƉƌŽĚƵĐƚŝŽŶŽĨƚŚŝƐŵŽĚĞůĨŝƌƐƚ
  ďĞŐĂŶͿĂŶĚƵŐƵƐƚϳ͕ϮϬϭϴ;ǁŚĞŶDzϮϬϭϴƉƌŽĚƵĐƚŝŽŶĞŶĚĞĚͿ͘dŚŝƐŝƐƚŚĞƐĂŵĞƉƌŽĚƵĐƚŝŽŶƉĞƌŝŽĚĂƐƚŚĞ
  DzϮϬϭϳͲϮϬϭϴWĂĐŝĨŝĐĂW,sƐŝŶĐůƵĚĞĚŝŶƚŚĞϭϭZĞĐĂůůďƵƚĞǆĐůƵĚĞƐǀĞŚŝĐůĞƐƚŚĂƚƉƌĞǀŝŽƵƐůǇƌĞĐĞŝǀĞĚĂŶ
  ,sďĂƚƚĞƌǇƌĞƉůĂĐĞŵĞŶƚƵŶĚĞƌƚŚĞϭϭZĞĐĂůů͘

  ^ŝŵƵůƚĂŶĞŽƵƐ ƚŽ ƚŚĞ ϳϯ ZĞĐĂůů͕ & ĂůƐŽ ŝƐƐƵĞĚ ƚŚĞ ϳϮ ZĞĐĂůů͕ ǁŚŝĐŚ ŝŶĐůƵĚĞĚ ĐĞƌƚĂŝŶ DzϮϬϭϵͲϮϬϮϭ
  WĂĐŝĨŝĐĂW,sƐǁŝƚŚƚŚĞƐĂŵĞĨŝƌĞƌŝƐŬĂƌŝƐŝŶŐĨƌŽŵƚŚĞǀĞŚŝĐůĞƐ͛,sďĂƚƚĞƌǇƉĂĐŬ͕ ϭϯƐĂǇŝŶŐ͗

          ^ŽŵĞϮϬϭϵͲϮϬϮϭDzŚƌǇƐůĞƌWĂĐŝĨŝĐĂWůƵŐͲ/Ŷ,ǇďƌŝĚůĞĐƚƌŝĐsĞŚŝĐůĞƐ;ΗW,sΗͿŵĂǇŚĂǀĞ
          ďĞĞŶďƵŝůƚǁŝƚŚĂ,ŝŐŚsŽůƚĂŐĞ;Η,sΗͿďĂƚƚĞƌǇƉĂĐŬǁŚŝĐŚŵĂǇĐŽŶƚĂŝŶĐĞůůƐŵĂŶƵĨĂĐƚƵƌĞĚ
          ǁŝƚŚĂĨŽůĚĞĚŽƌƚŽƌŶĂŶŽĚĞƚĂď͘

          dŚĞƐƵƐƉĞĐƚƉĞƌŝŽĚďĞŐĂŶŽŶƉƌŝůϯϬ͕ϮϬϭϴ͕ǁŚĞŶƉƌŽĚƵĐƚŝŽŶŽĨŚƌǇƐůĞƌWĂĐŝĨŝĐĂW,sƐ
          ŵĂŶƵĨĂĐƚƵƌĞĚ ǁŝƚŚ ƐƵƐƉĞĐƚ ,s ďĂƚƚĞƌǇ ƉĂĐŬƐ ďĞŐĂŶ͕ ĂŶĚ ĞŶĚĞĚ ŽŶ KĐƚŽďĞƌ Ϯϲ͕ ϮϬϮϭ͕
          ǁŚĞŶƉƌŽĚƵĐƚŝŽŶŽĨŚƌǇƐůĞƌWĂĐŝĨŝĐĂW,sƐŵĂŶƵĨĂĐƚƵƌĞĚǁŝƚŚƐƵƐƉĞĐƚ,sďĂƚƚĞƌǇƉĂĐŬƐ
          ĞŶĚĞĚ͘ sĞŚŝĐůĞ ĂŶĚ ,s ďĂƚƚĞƌǇ ƉĂĐŬ ƉƌŽĚƵĐƚŝŽŶ ƌĞĐŽƌĚƐ ǁĞƌĞ ƵƐĞĚ ƚŽ ĚĞƚĞƌŵŝŶĞ ƚŚĞ
          ƐƵƐƉĞĐƚƉĞƌŝŽĚ͘

          ^ŝŵŝůĂƌ ǀĞŚŝĐůĞƐ ŶŽƚ ŝŶĐůƵĚĞĚ ŝŶ ƚŚĞ ƌĞĐĂůů ĂƌĞ ŶŽƚ W,sƐ͕ ǁĞƌĞ ďƵŝůƚ ĂĨƚĞƌ ƚŚĞ ƐƵƐƉĞĐƚ
          ǀĞŚŝĐůĞƉƌŽĚƵĐƚŝŽŶƉĞƌŝŽĚ͕ŽƌĂƌĞƉƌĞǀŝŽƵƐůǇĐŽǀĞƌĞĚƵŶĚĞƌ&h^ZĞĐĂůů/ϭϭ;E,d^
          ZĞĐĂůů/ϮϮsͲϬϳϳͿ;ΗϭϭΗͿ͘ϭϰ

  dŚĞϳϮZĞĐĂůůŝŶĚŝĐĂƚĞƐƚŚĞĨŝƌĞƌŝƐŬŝƐŶŽƚůŝŵŝƚĞĚƚŽũƵƐƚDzϮϬϭϳĂŶĚDzϮϬϭϴWĂĐŝĨŝĐĂW,sƐ͘

  /ŶƚŚĞϭϭZĞĐĂůů͕ƚŚĞĂĨĨĞĐƚĞĚƉŽƉƵůĂƚŝŽŶŝŶĐůƵĚĞĚϭϲ͕ϳϰϭǀĞŚŝĐůĞƐ;&ŝŐƵƌĞϳͿ͘ϭϱ͕ϭϲ/ŶƚŚĞϳϯZĞĐĂůů͕ƚŚĞ
  ĂĨĨĞĐƚĞĚ ƉŽƉƵůĂƚŝŽŶ ŝŶĐůƵĚĞĚ ϭϱ͕ϵϭϬ ǀĞŚŝĐůĞƐ ;&ŝŐƵƌĞ ϴͿ͘ϭϳ͕ϭϴ dŚŝƐ ƌĞĨůĞĐƚƐ ĂŶ ϴϯϭͲǀĞŚŝĐůĞ ĚŝĨĨĞƌĞŶĐĞ
  ďĞƚǁĞĞŶ ƚŚĞ ƌĞĐĂůů ƉŽƉƵůĂƚŝŽŶƐ͘ dŚŝƐ ĚŝƐĐƌĞƉĂŶĐǇ ĐĂŶ ďĞ ĞǆƉůĂŝŶĞĚ ďǇ Ă ŵǇƌŝĂĚ ŽĨ ĨĂĐƚŽƌƐ͕ ƐƵĐŚ ĂƐ
  ĞǆƉŽƌƚĞĚ͕ƐĐƌĂƉƉĞĚ͕ƐƚŽůĞŶ͕ĂŶĚůŽƐƚǀĞŚŝĐůĞƐ͕ĂŶĚǀĞŚŝĐůĞƐƚŚĂƚŚĂĚƚŚĞŝƌ,sďĂƚƚĞƌǇƉĂĐŬƐƌĞƉůĂĐĞĚƵŶĚĞƌ
  ZĞĐĂůůϭϭ;ƐĞĞ&ŝŐƵƌĞϳĂŶĚ&ŝŐƵƌĞϴͿ͘dŚŝƐŵŝŶŽƌĚŝĨĨĞƌĞŶĐĞŝŶůĂƐƐsĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶĚŽĞƐŶŽƚĂůƚĞƌŵǇ
  ŽƉŝŶŝŽŶƚŚĂƚƚŚĞĨŝƌĞƌŝƐŬŝŵƉĂĐƚƐĂůůůĂƐƐsĞŚŝĐůĞƐ͘



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  ϭϯ
    ŚƚƚƉƐ͗ͬͬǁǁǁ͘ŶŚƚƐĂ͘ŐŽǀͬƌĞĐĂůůƐ͍ŶŚƚƐĂ/ĚсϮϰsϱϯϴϬϬϬ
  ϭϰ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϴͲϰϰϱϮ͘W&
  ϭϱ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϮͬZ>ZWdͲϮϮsϬϳϳͲϯϰϴϲ͘W&
  ϭϲ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϭϰ
  ϭϳ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϲͲϴϯϱϱ͘W&
  ϭϴ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϳϳ


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                                  &ŝŐƵƌĞϳ͘ϭϭZĞĐĂůůǀĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶƐƵŵŵĂƌǇ͘ϭϵ




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                                  &ŝŐƵƌĞϴ͘ϳϯZĞĐĂůůǀĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶƐƵŵŵĂƌǇ͘ϮϬ

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      &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϳϳ


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  /Ŷ ƚŚĞ ϭϭ ZĞĐĂůů͕&ĞƐƚŝŵĂƚĞĚ ƚŚĂƚϭϬϬйŽĨ ƚŚĞ ƌĞĐĂůůĞĚǀĞŚŝĐůĞƐ ŚĂĚ ƚŚĞ ĨŝƌĞ ƌŝƐŬ ĚĞĨĞĐƚ;&ŝŐƵƌĞ ϵͿ͕
  ĚĞƐĐƌŝďŝŶŐƚŚĞĚĞĨĞĐƚĂƐ͞ǀĞŚŝĐůĞŵĂǇĞǆƉĞƌŝĞŶĐĞĂĨŝƌĞ͕ĞǀĞŶǁŝƚŚƚŚĞŝŐŶŝƚŝŽŶŝŶƚŚĞ͞K&&͟ŵŽĚĞ͘͟ϮϭƵƚ
  ŝŶƚŚĞϳϯZĞĐĂůů͕ŝƚĞƐƚŝŵĂƚĞƐƚŚĂƚϱйŽĨƚŚĞƌĞĐĂůůĞĚǀĞŚŝĐůĞƐŚĂǀĞƚŚĞĨŝƌĞƌŝƐŬĚĞĨĞĐƚ;&ŝŐƵƌĞϭϬͿ͘ϮϮ




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      &ŝŐƵƌĞϵ͘ϭϭZĞĐĂůůŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƉŽƚĞŶƚŝĂůůǇŝŶǀŽůǀĞĚƉŽƉƵůĂƚŝŽŶĂŶĚĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞǁŝƚŚĚĞĨĞĐƚ͘ Ϯϯ
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  &ŝŐƵƌĞϭϬ͘ϳϯZĞĐĂůůŝŶĨŽƌŵĂƚŝŽŶĂďŽƵƚƉŽƚĞŶƚŝĂůůǇŝŶǀŽůǀĞĚƉŽƉƵůĂƚŝŽŶĂŶĚĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞǁŝƚŚĚĞĨĞĐƚ͘ Ϯϰ
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  &ƌŽŵƚŚĞĚŽĐƵŵĞŶƚƐ/ŚĂǀĞďĞĞŶĂďůĞƚŽƌĞǀŝĞǁƵƉƚŽƚŚĞƉŽŝŶƚŽĨƚŚŝƐƐƵƉƉůĞŵĞŶƚĂůƌĞƉŽƌƚ͕ŝƚŝƐŶŽƚǇĞƚ
  ĐůĞĂƌŚŽǁ&ƌĞĚƵĐĞĚƚŚĞĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞŽĨǀĞŚŝĐůĞƐǁŝƚŚƚŚĞĨŝƌĞƌŝƐŬĚĞĨĞĐƚďĞƚǁĞĞŶƚŚĞƚǁŽ
  ZĞĐĂůůƐ͘ƚƚŚĞƚŝŵĞŽĨƚŚĞϭϭZĞĐĂůů͕&ƐƚĂƚĞĚƚŚĞƌŽŽƚĐĂƵƐĞŽĨƚŚĞĨŝƌĞƌŝƐŬǁĂƐƵŶŬŶŽǁŶ͕ďƵƚŶŽǁŝŶ
  ƚŚĞϳϯZĞĐĂůů͕ŝƚŝĚĞŶƚŝĨŝĞƐĂĨŽůĚĞĚŽƌƚŽƌŶĂŶŽĚĞƚĂďŝŶƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƚŚĂƚ͕ĂůŽŶŐǁŝƚŚĂƐĞĐŽŶĚ
  ƵŶŝĚĞŶƚŝĨŝĞĚĨĂĐƚŽƌ͕ŵĂǇůĞĂĚƚŽĂŶŝŶƚĞƌŶĂůƐŚŽƌƚǁŝƚŚŝŶƚŚĞƉĂĐŬƚŚĂƚĐĂŶƌĞƐƵůƚŝŶĂǀĞŚŝĐůĞĨŝƌĞ;&ŝŐƵƌĞ
  ϭϭͿ͘Ϯϱ
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                                           &ŝŐƵƌĞϭϭ͘ϳϯZĞĐĂůůĚĞĨĞĐƚĚĞƐĐƌŝƉƚŝŽŶ͘Ϯϲ

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  Ϯϭ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϮͬZ>ZWdͲϮϮsϬϳϳͲϯϰϴϲ͘W&
  ϮϮ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϲͲϴϯϱϱ͘W&
  Ϯϯ
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  Ϯϱ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϲͲϴϯϱϱ͘W&
  Ϯϲ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϲͲϴϯϱϱ͘W&


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  /ŶŚŝƐĚĞƉŽƐŝƚŝŽŶƚĞƐƚŝŵŽŶǇ͕&͛ƐĞǆƉĞƌƚůĚŽŶ>ĞĂƉŚĂƌƚƐƚĂƚĞĚƚŚĂƚŚŝƐƵŶĚĞƌƐƚĂŶĚŝŶŐĂƚƚŚĞƚŝŵĞǁĂƐ
  ƚŚĂƚϭϬϬйŽĨƚŚĞǀĞŚŝĐůĞƐƐƵďũĞĐƚƚŽƚŚĞϭϭZĞĐĂůůŚĂǀĞĂĨŝƌĞƌŝƐŬ͗

  Y͘    ͞ŽǇŽƵŝŶƚĞƌƉƌĞƚƚŚĞĞƐƚŝŵĂƚĞĚƉĞƌĐĞŶƚĂŐĞǁŝƚŚƚŚĞĚĞĨĞĐƚǁŚĞƌĞŝƚƐĂǇƐĂŚƵŶĚƌĞĚƉĞƌĐĞŶƚƚŽ
          ŵĞĂŶƚŚĂƚĂŚƵŶĚƌĞĚƉĞƌĐĞŶƚŽĨƚŚŽƐĞǀĞŚŝĐůĞƐǁŝůůŚĂǀĞĂĨŝƌĞ͍

  ͘     ͞EŽ͘/ƌĞĂůůǇŝŶƚĞƌƉƌĞƚŝƚĂƐĞƐƉĞĐŝĂůůǇďĞĐĂƵƐĞƚŚĞƌĞŚĂƐďĞĞŶŶŽƐŝŶŐůĞƌŽŽƚĐĂƵƐĞŝĚĞŶƚŝĨŝĞĚ͕ƚŚĂƚ
          ǀĞŚŝĐůĞƐŝŶƚŚŝƐĚĂƚĞƌĂŶŐĞŚĂǀĞƚŚĞƉŽƚĞŶƚŝĂů͕ŐŝǀĞŶƚŚĂƚƚŚĞƐŝŶŐůĞʹĂƐŝŶŐůĞƌŽŽƚĐĂƵƐĞŚĂƐŶŽƚ
          ďĞĞŶŝĚĞŶƚŝĨŝĞĚ͕ŝƚŵĂǇŚĂǀĞĨĂĐƚŽƌƐƚŚĂƚĐŽƵůĚĐŽŶƚƌŝďƵƚĞƚŽƚŚŝƐƉĂƌƚŝĐƵůĂƌĚĞĨĞĐƚ͕ŵĂŝŶůǇĂĨŝƌĞ͘͟

  Y͘     ͞^ŽĚŽǇŽƵƵŶĚĞƌƐƚĂŶĚƚŚĂƚĂŚƵŶĚƌĞĚƉĞƌĐĞŶƚŽĨƚŚĞƐĞǀĞŚŝĐůĞƐ͕ƚŚĞǀĞŚŝĐůĞƐƚŚĂƚĂƌĞƐƵďũĞĐƚƚŽ
          ƚŚŝƐƌĞĐĂůů͕ŚĂǀĞƚŚĞͲͲŚĂǀĞĂĨŝƌĞƌŝƐŬ͍EŽƚƚŚĂƚƚŚĞǇΖƌĞŐŽŝŶŐƚŽŚĂǀĞĂĨŝƌĞ͕ďƵƚŚĂǀĞĂĨŝƌĞƌŝƐŬ͍͟

  ͘     ͞dŚĂƚŝƐŵǇƵŶĚĞƌƐƚĂŶĚŝŶŐ͘͟Ϯϳ

  ^ƵƉƉůĞŵĞŶƚĂůĚŽĐƵŵĞŶƚƐƉƌŽĚƵĐĞĚĐŽŶĨŝƌŵƚŚĂƚƚŚĞĨŝƌĞƌŝƐŬŝŶƚŚĞůĂƐƐsĞŚŝĐůĞƐĂƌŝƐĞƐďĞĐĂƵƐĞ͞ĂĨŽůĚĞĚ
  ŽƌƚŽƌŶĂŶŽĚĞƚĂďŵĂǇƌĞƐƵůƚŝŶƚŚĞŐĞŶĞƌĂƚŝŽŶŽĨůŝƚŚŝƵŵďǇͲƉƌŽĚƵĐƚŽǀĞƌƚŝŵĞ͟ĂŶĚ͞ƚŚŝƐĚĞĨĞĐƚ͕ĂůŽŶŐ
  ǁŝƚŚĂƐĞĐŽŶĚĚĞĨĞĐƚ͕ŵĂǇůĞĂĚƚŽĂŶŝŶƚĞƌŶĂůƐŚŽƌƚǁŝƚŚŝŶƚŚĞƉĂĐŬĂŶĚŵĂǇƌĞƐƵůƚŝŶĂǀĞŚŝĐůĞĨŝƌĞ͟;&ŝŐƵƌĞ
  ϭϮ&ŝŐƵƌĞ ϭϮͿ͘Ϯϴ & ĂĐŬŶŽǁůĞĚŐĞƐ ƚŚĞ ϭϭ ZĞĐĂůů ƐŽĨƚǁĂƌĞ ƵƉĚĂƚĞ ͞ŝƐ ŶŽƚ ƌŽďƵƐƚ ĞŶŽƵŐŚ ƚŽ ĐĂƚĐŚ
  ĂďŶŽƌŵĂůŝƚŝĞƐǁŝƚŚŝŶƚŚĞ΀,sďĂƚƚĞƌǇ΁ƉĂĐŬ͟ĂŶĚ͕ĐƌŝƚŝĐĂůůǇ͕&ŝĚĞŶƚŝĨŝĞƐŶŽŵĞĐŚĂŶŝƐŵƚŚĂƚĐĂŶĚĞƚĞĐƚͶ
  ŽƵƚ ŽĨ ƚŚĞ ĞŶƚŝƌĞ ůĂƐƐ sĞŚŝĐůĞ ƉŽƉƵůĂƚŝŽŶͶƚŚŽƐĞ ǁŚŽƐĞ ,s ďĂƚƚĞƌǇ ƉĂĐŬƐ ĐŽŶƚĂŝŶ ƚŚŝƐ ĂŶŽĚĞ ĚĞĨĞĐƚ
  ĂŶĚͬŽƌƉƌĞƐĞŶƚƚŚĞĐŽŶĚŝƚŝŽŶƐ&ƐĂǇƐĂƌĞŶĞĐĞƐƐĂƌǇĨŽƌĂĨŝƌĞƚŽŽĐĐƵƌ͘ Ϯϵ

  dŚƵƐ͕ZĞĐĂůůƐϳϯĂŶĚϳϮ͕ĂƐǁĞůůĂƐƚŚĞƐƵƉƉůĞŵĞŶƚĂůŝŶĨŽƌŵĂƚŝŽŶƌĞŐĂƌĚŝŶŐƚŚĞϭϭZĞĐĂůůĂŶĚƐŽĨƚǁĂƌĞ
  ƵƉĚĂƚĞ͛ƐŝŶĞĨĨĞĐƚŝǀĞŶĞƐƐƚŽƐƵĨĨŝĐŝĞŶƚůǇĚĞƚĞĐƚďĂƚƚĞƌǇĨĂŝůƵƌĞƐƚŽƉƌĞǀĞŶƚĨŝƌĞĂĨĨŝƌŵŵǇŽƉŝŶŝŽŶƚŚĂƚƚŚĞ
  ĞŶƚŝƌĞDzϮϬϭϳͲϮϬϭϴƉŽƉƵůĂƚŝŽŶŝƐƐƚŝůůƐƵďũĞĐƚƚŽĨŝƌĞƌŝƐŬ͘

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  Ϯϳ
    DĂǇϭϰ͕ϮϬϮϰ͘>ĞĂƉŚĂƌƚĞƉŽƐŝƚŝŽŶdƌ͘Ăƚϭϰϵ͗ϳͲϭϰϵ͗Ϯϯ͘
  Ϯϴ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϳ
  Ϯϵ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϳ


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                                   &ŝŐƵƌĞϭϮ͘&ƌĞǀŝĞǁŽĨϭϭZĞĐĂůůĞĨĨĞĐƚŝǀĞŶĞƐƐ͘ϯϬ

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  Ϯ͘ϯ    ;KƉŝŶŝŽŶ ϱ͘ϰͿ &͛Ɛ ŶĂůǇƐŝƐ ŽĨ ,s ĂƚƚĞƌǇ WĂĐŬ DĂŶƵĨĂĐƚƵƌŝŶŐ ĞĨĞĐƚƐ WƌŽŵƉƚĞĚ ƚŚĞ
         ZĞĐĂůůŽĨůůůĂƐƐsĞŚŝĐůĞƐ

  dŚĞϭϭZĞĐĂůůǁĂƐƉƌŽŵƉƚĞĚďǇĨŝƌĞƐŝŶƚǁĞůǀĞůĂƐƐsĞŚŝĐůĞƐ͘ϯϭ͕ϯϮ/ŶƚŚĞϳϯZĞĐĂůů͕&ŝĚĞŶƚŝĨŝĞĚƐĞǀĞŶ
  ĨŝƌĞƐƚŚĂƚŽƌŝŐŝŶĂƚĞĚĨƌŽŵƚŚĞůĂƐƐsĞŚŝĐůĞƐ͛,sďĂƚƚĞƌǇƉĂĐŬƐĂĨƚĞƌƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞǁĂƐ
  ƉĞƌĨŽƌŵĞĚ͕ŝŶĐůƵĚŝŶŐϰŝŶũƵƌŝĞƐ͘ϯϯ/ŶŝƚƐ:ƵůǇϭϭ͕ϮϬϮϰŝŶƚĞƌŶĂůƌĞƉŽƌƚ͕&ŝĚĞŶƚŝĨŝĞĚ͞ϮϯƚŽƚĂůŝŶĐŝĚĞŶƚƐŽĨ
  ĨŝƌĞŽƌŝŐŝŶĂƚŝŶŐĨƌŽŵƚŚĞ,sďĂƚƚĞƌǇ͟ĂŶĚ͞ϭϭĨŝƌĞƐƌĞĐĞŝǀĞĚƐŝŶĐĞϭϭ͕ǁŝƚŚϳŽĨƚŚŽƐĞŽĐĐƵƌƌŝŶŐĂĨƚĞƌƚŚĞ
  ƌĞŵĞĚǇǁĂƐĐŽŵƉůĞƚĞĚ͘͟ϯϰKŶDĂǇϮϯ͕ϮϬϮϰ͕&ůĞĂƌŶĞĚĂďŽƵƚĂŶĞŝŐŚƚŚǀĞŚŝĐůĞĨŝƌĞĂůůĞŐĞĚƚŽŚĂǀĞ
  ŽĐĐƵƌƌĞĚĂĨƚĞƌƚŚĞůĂƐƐsĞŚŝĐůĞŽďƚĂŝŶĞĚƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉŐƌĂĚĞ͘ϯϱĂƐĞĚŽŶƚŚŝƐŝŶĨŽƌŵĂƚŝŽŶ͕
  ƚŚĞƌĞŚĂǀĞďĞĞŶƚǁĞŶƚǇͲĨŽƵƌƚŽƚĂůĨŝƌĞƐŝŶůĂƐƐsĞŚŝĐůĞƐƚŽĚĂƚĞ͕ĞŝŐŚƚŽĨǁŚŝĐŚĂƌĞƐƵƐƉĞĐƚĞĚƚŽŚĂǀĞ
  ŽĐĐƵƌƌĞĚƉŽƐƚͲϭϭZĞĐĂůůƌĞƉĂŝƌ͘

  ^ƵƉƉůĞŵĞŶƚĂůĚŽĐƵŵĞŶƚƐŝŶĚŝĐĂƚĞƚŚĞ͞ĨŝƌĞƐĐŽŶƚŝŶƵĞƚŽŽĐĐƵƌƐŝŶĐĞůĂƵŶĐŚŝŶŐϭϭƌĞŵĞĚǇ͕ŵŽƐƚŽĨǁŚŝĐŚ
  ŚĂǀĞŚĂĚƚŚĞϭϭƌĞŵĞĚǇĐŽŵƉůĞƚĞĚ͕͟ĂƐƐŚŽǁŶŝŶ&ŝŐƵƌĞϭϯ͘ ϯϲ




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    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϳ
  ϯϭ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϮͬZ>ZWdͲϮϮsϬϳϳͲϯϰϴϲ͘W&
  ϯϮ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϯϳ
  ϯϯ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϮϳƚŽ&ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϳϰ
  ϯϰ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϴ
  ϯϱ
    &h^>>͛ƐdŚŝƌĚ^ƵƉƉůĞŵĞŶƚĂůŶƐǁĞƌƐƚŽWůĂŝŶƚŝĨĨƐ͛&ŝƌƐƚ^ĞƚŽĨ/ŶƚĞƌƌŽŐĂƚŽƌŝĞƐ͕/ŶƚĞƌƌŽŐ͘EŽ͘ϭ͘
  ϯϲ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϳ


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                          &ŝŐƵƌĞϭϯ͘&ĂŶĂůǇƐŝƐŽĨ,sďĂƚƚĞƌǇĨŝƌĞƐĨŽƌDzϮϬϭϳͲϮϬϭϴ͘ϯϳ

  &͛ƐĂŶĂůǇƐŝƐŽĨϮϯůĂƐƐsĞŚŝĐůĞƐĨŝƌĞƐ;ĂƐŽĨDĂǇϮϮ͕ϮϬϮϰͿ͕ƐŚŽǁĞĚƚŚĞsĞŚŝĐůĞƐ͛ĂǀĞƌĂŐĞƚŝŵĞŝŶƐĞƌǀŝĐĞ
  ;d/^ͿǁĂƐϰ͘ϱǇĞĂƌƐĂŶĚƚŚĞĂǀĞƌĂŐĞŵŝůĞĂŐĞǁĂƐϲϭ͕ϬϬϬ͕ĂƐƐŚŽǁŶŝŶ&ŝŐƵƌĞϭϰ͘ ϯϴ




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                                 &ŝŐƵƌĞϭϰ͘&ĂŶĂůǇƐŝƐŽĨĨŝƌƐƚϮϯĨŝƌĞŝŶĐŝĚĞŶƚƐ͘ϯϵ

  &͛ƐĂŶĂůǇƐŝƐĨƵƌƚŚĞƌƐƚĂƚĞƐ͕͞tĞŝďƵůůĂŶĂůǇƐŝƐƐŚŽǁƐϬ͘ϴй͟;ĨĂŝůƵƌĞͿ͞Ăƚϭϱz/^͟;ǇĞĂƌƐŝŶƐĞƌǀŝĐĞͿ͞ĂŶĚ
  ƉƌĞĚŝĐƚƐϭϱϴĨƵƚƵƌĞĨĂŝůƵƌĞƐ͟;&ŝŐƵƌĞϭϱͿ͘ϰϬtĞŝďƵůůĚŝƐƚƌŝďƵƚŝŽŶŝƐĂƐƚĂƚŝƐƚŝĐĂůĂŶĂůǇƐŝƐƚŽŽůƚŽŵŽĚĞůĂ

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    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϳ
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    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϰϬ
  ϯϵ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϰϬ
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    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϵ


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  ďƌŽĂĚƌĂŶŐĞŽĨƌĂŶĚŽŵǀĂƌŝĂďůĞƐ͕ůĂƌŐĞůǇƌĞůĂƚĞĚƚŽƚŝŵĞƚŽĨĂŝůƵƌĞŽƌƚŝŵĞďĞƚǁĞĞŶĞǀĞŶƚƐ͕ŝŶĂƉƌŽďĂďŝůŝƚǇ
  ĚŝƐƚƌŝďƵƚŝŽŶ͘&͛ƐĂŶĂůǇƐŝƐĨƵƌƚŚĞƌƉƌĞĚŝĐƚĞĚ͞ϴϬĨƵƚƵƌĞĨĂŝůƵƌĞƐďĂƐĞĚŽŶĂŐĞŽĨƉŽƉƵůĂƚŝŽŶ͟ĂŶĚƉƌŽǀŝĚĞĚ
  ƚŚĞ͞ŬĞǇƚĂŬĞĂǁĂǇ͟ƚŚĂƚƚŚĞ͞ƚƌĞŶĚůŝŶĞƐŚŽǁƐĨĂŝůƵƌĞƌĂƚĞŝƐƌĞŵĂŝŶŝŶŐĐŽŶƐƚĂŶƚ͟;&ŝŐƵƌĞϭϱͿ͘ ϰϭ




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                                &ŝŐƵƌĞϭϱ͘&ĂŶĂůǇƐŝƐŽĨƉƌŽũĞĐƚĞĚĨĂŝůƵƌĞ;ĨŝƌĞͿƌĂƚĞƐ͘ϰϮ

  ĐĐŽƌĚŝŶŐƚŽ&͛ƐĂŶĂůǇƐŝƐ͕>'^͞ďĞůŝĞǀĞƐƚŚĞĨŽůĚĞĚͬƚŽƌŶĂŶŽĚĞŝƐƚŚĞďŝŐŐĞƐƚĐŽŶƚƌŝďƵƚŽƌƚŽƚŚĞƌŽŽƚ
  ĐĂƵƐĞŽĨƚŚĞďĂƚƚĞƌǇĨŝƌĞƐ͟ĂŶĚƚŚĂƚ͞΀ƚ΁ŚƌŽƵŐŚƌĞƉƌŽĚƵĐƚŝŽŶƚĞƐƚŝŶŐ͕>'^ŚĂƐĚĞƚĞƌŵŝŶĞĚƚŚĂƚĂƐĞĐŽŶĚ
  ĚĞĨĞĐƚŵƵƐƚĞǆŝƐƚǁŚŝĐŚŝƐĐŽŶƚƌŝďƵƚŝŶŐƚŽƚŚĞĨŝƌĞƐ͘͟ϰϯ/ƚŐŽĞƐŽŶƚŽƐĂǇ͞ƚŚĞƌĞŚĂǀĞďĞĞŶŶŽŵĂŶƵĨĂĐƚƵƌŝŶŐ
  ĐŚĂŶŐĞƐŝĚĞŶƚŝĨŝĞĚƚŚƌŽƵŐŚƚŚĞůŝĨĞƚŝŵĞŽĨƉƌŽĚƵĐƚŝŽŶŽĨZhW,s;ĞǆƚĞƌŶĂůƚŽƚŚĞďĂƚƚĞƌǇͿǁŚŝĐŚĐĂŶďĞ
  ĂƚƚƌŝďƵƚĞĚƚŽƚŚĞĨŝƌĞƐ͘͟ϰϰdŚŝƐůĂƐƚƉŽŝŶƚƌĞĨƵƚĞƐDƌ͘>ĞĂƉŚĂƌƚ͛ƐŽƉŝŶŝŽŶƚŚĂƚǀĂƌŝĂƚŝŽŶƐŝŶĂƚƚĞƌǇůĞĐƚƌŽŶŝĐ
  ŽŶƚƌŽůDŽĚƵůĞ;DͿƐŽĨƚǁĂƌĞ͕ĞǆƚĞƌŶĂůĐŚĂƌŐŝŶŐƐǇƐƚĞŵƐ͕ŽƌŽƚŚĞƌǀĞŚŝĐůĞƐǇƐƚĞŵŝŶƚĞƌĨĂĐĞƐŶĞĞĚƚŽ
  ďĞĐŽŶƐŝĚĞƌĞĚĂƐƉŽƐƐŝďůĞĂůƚĞƌŶĂƚŝǀĞƌŽŽƚĐĂƵƐĞƐĨŽƌƚŚĞĨŝƌĞƌŝƐŬ͘ϰϱ

  dŚĞƐĞ ƚǁĞůǀĞ ĂĚĚŝƚŝŽŶĂů ůĂƐƐ sĞŚŝĐůĞ ĨŝƌĞƐ ĂŶĚ ƚŚĞ ƐƵƉƉůĞŵĞŶƚĂů ƌŽŽƚ ĐĂƵƐĞ ĂŶĂůǇƐŝƐ͕ ĂƐ ǁĞůů ĂƐ ƚŚĞ
  ŝƐƐƵĂŶĐĞŽĨƚŚĞϳϯĂŶĚϳϮZĞĐĂůůƐ͕ƐƵƉƉŽƌƚŵǇŽƉŝŶŝŽŶƚŚĂƚƚŚĞĨŝƌĞƌŝƐŬĂƌŝƐĞƐĨƌŽŵƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬ͘
  'ŝǀĞŶƚŚĞďĂĐŬǁĂƌĚĐŽŵƉĂƚŝďŝůŝƚǇŽĨƚŚĞ,sďĂƚƚĞƌǇƐĞƌǀŝĐĞƉĂƌƚĨŽƌƚŚĞůĂƐƐsĞŚŝĐůĞƐ;ĚŝƐĐƵƐƐĞĚĂďŽǀĞͿ͕
  ĂŶĚ ƚŚĂƚ & ŚĂƐ ĚĞƚĞƌŵŝŶĞĚ ƚŚĞ ĨŝƌĞ ƌŝƐŬ ŶŽǁ ĂůƐŽ ĞǆŝƐƚƐ ŝŶ ĐĞƌƚĂŝŶ DzϮϬϭϵͲϮϬϮϭ WĂĐŝĨŝĐĂ W,sƐ ;ŝŶ
  ĂĚĚŝƚŝŽŶƚŽƚŚĞDzϮϬϭϳͲϮϬϭϴůĂƐƐsĞŚŝĐůĞƐͿ͕ŵǇŽƉŝŶŝŽŶƚŚĂƚ͕ŐĞŶĞƌĂůůǇ͕,sďĂƚƚĞƌǇƉĂĐŬƌĞƉůĂĐĞŵĞŶƚŝƐ
  ĂŶĂǀĂŝůĂďůĞƌĞŵĞĚǇĨŽƌƚŚĞĨŝƌĞƌŝƐŬƐƚŝůůƐƚĂŶĚƐ͘,ŽǁĞǀĞƌ͕ŝƚŝƐŵŽĚŝĨŝĞĚƚŽĐůĂƌŝĨǇƚŚĂƚƐƵĐŚƌĞƉůĂĐĞŵĞŶƚ
  ŵƵƐƚƵƚŝůŝǌĞ͞ĐůĞĂŶ͟,sďĂƚƚĞƌǇƉĂĐŬƐŵĂŶƵĨĂĐƚƵƌĞĚĂĨƚĞƌĂŶǇƌĞĐĂůůĐƵƚŽĨĨƉĞƌŝŽĚ͘




                                      
  ϰϭ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϵ
  ϰϮ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϵ
  ϰϯ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϱϮ
  ϰϰ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϯ
  ϰϱ
    ^ĞĞ͘>ĞĂƉŚĂƌƚ&Ğď͘ϭϵ͕ϮϬϮϰZĞƉŽƌƚĂƚϯ͘ϳͲϯ͘ϴ͘


                                                                                                               ϭϳ
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                                                            


  Ϯ͘ϰ       ;KƉŝŶŝŽŶϱ͘ϲͿdŚĞĨĨĞĐƚŝǀĞŶĞƐƐŽĨ&͛ƐϭϭZĞĐĂůůtŝůůĞĞƚĞƌŵŝŶĞĚŽŶĂůĂƐƐtŝĚĞ
            ĂƐŝƐhƐŝŶŐǀŝĚĞŶĐĞŽŵŵŽŶƚŽůůůĂƐƐsĞŚŝĐůĞƐ

  DǇŽƉŝŶŝŽŶƐͶƚŚĂƚƚŚĞĞĨĨĞĐƚŝǀĞŶĞƐƐŽĨƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞĐĂŶďĞƐŚŽǁŶĐůĂƐƐͲǁŝĚĞĂŶĚƚŚĂƚ
  ,s ďĂƚƚĞƌǇ ƉĂĐŬ ƌĞƉůĂĐĞŵĞŶƚƐ ;ǁŝƚŚ ĚĞĨĞĐƚͲĨƌĞĞ ǀĞƌƐŝŽŶƐͿ ĂƌĞ Ă ĐŽŵƉĞƚĞŶƚ ĂŶĚ ĂĚĞƋƵĂƚĞ ƐŽůƵƚŝŽŶ ĨŽƌ
  ĞůŝŵŝŶĂƚŝŶŐƚŚĞĨŝƌĞƌŝƐŬͶĂƌĞďŽůƐƚĞƌĞĚďǇƚŚĞϳϯZĞĐĂůůĂŶĚƐƵƉƉůĞŵĞŶƚĂůŝŶĨŽƌŵĂƚŝŽŶůĞĂƌŶĞĚĂďŽƵƚƚŚĞ
  ϭϭZĞĐĂůů͘

  /ŶƚŚĞϳϯZĞĐĂůů͕&ĂĚŵŝƚƐŝƚƐƐŽĨƚǁĂƌĞƵƉĚĂƚĞƉƌŽǀŝĚĞĚƵŶĚĞƌƚŚĞϭϭZĞĐĂůůŝƐŝŶĞĨĨĞĐƚŝǀĞĂŶĚƉƵƌƉŽƌƚƐ
  ƚŽďĞǁŽƌŬŝŶŐŽŶĂŶĞǁƐŽĨƚǁĂƌĞĨŝǆĨŽƌƚŚĞůĂƐƐsĞŚŝĐůĞƐ͘ϰϲdŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞŝŶƚƌŽĚƵĐĞĚ
  ƚŚƌĞĞ ŶĞǁ ŝĂŐŶŽƐƚŝĐ dƌŽƵďůĞ ŽĚĞƐ ;͞dƐ͟Ϳ ƚŽ ŵŽŶŝƚŽƌ ĐĞůů ǀŽůƚĂŐĞ ĚĞǀŝĂƚŝŽŶ ĨŽůůŽǁĞĚ ďǇ Ă ďĂƚƚĞƌǇ
  ŝŶƚĞŐƌŝƚǇƉƌŽĐĞĚƵƌĞ;͞/W͟Ϳ͘ϰϳĐĐŽƌĚŝŶŐƚŽ&͕ƚŚĞƐĞdƉĂƌĂŵĞƚĞƌƐŝŶĐůƵĚĞĚ͗

        x    DŽǀŝŶŐ ǀĞƌĂŐĞ sŽůƚĂŐĞ ĞǀŝĂƚŝŽŶ ;͞Ds͟Ϳ ʹ ĚĞƚĞĐƚƐ ŝŶƚĞƌŵŝƚƚĞŶƚ ƐŚŽƌƚ ƌĞƐƵůƚŝŶŐ ŝŶ Ă
             ŵŽŵĞŶƚĂƌǇǀŽůƚĂŐĞĐŚĂŶŐĞ

        x    ZĞůĂǆĂƚŝŽŶĚĞůƚĂsŽůƚĂŐĞ;͞ZĚs͟Ϳ;ƐŚŽƌƚƚĞƌŵĂŶĚůŽŶŐƚĞƌŵͿʹĚĞƚĞĐƚƐƐŽĨƚŝŶƚĞƌŶĂůƐŚŽƌƚŝŶĐĞůů͖
             ĂŶŝŶƚĞƌŶĂůƐŽĨƚƐŚŽƌƚĐĂŶůĞĂĚƚŽĂŚĂƌĚƐŚŽƌƚŽǀĞƌƚŝŵĞ͕ƌĞƐƵůƚŝŶŐŝŶƉĞƌŵĂŶĞŶƚďĂƚƚĞƌǇĚĂŵĂŐĞ

        x    ĞůƚĂ^ƚĂƚĞŽĨ,ĞĂůƚŚ;͞Ě^K,͟ͿĂƉĂĐŝƚǇʹĚĞƚĞĐƚƐĂďŶŽƌŵĂůĚĞƚĞƌŝŽƌĂƚŝŽŶŽĨĐĞůůĐĂƉĂĐŝƚǇĚƵĞƚŽ
             ĞǆƚĞƌŶĂůĨĂĐƚŽƌƐ͘ϰϴ

  ,ŽǁĞǀĞƌ͕&ĐŽŶĐůƵĚĞĚƚŚĂƚƚŚĞƐĞƚŚƌĞĞdƐŝŵƉůĞŵĞŶƚĞĚŝŶƚŚĞϭϭƐŽĨƚǁĂƌĞƵƉĚĂƚĞͶDs͕ZĚs͕
  ĂŶĚĚ^K,Ͷ͞ĚŽŶŽƚĚĞƚĞĐƚĐĞƌƚĂŝŶĂďŶŽƌŵĂůŝƚŝĞƐƚŚĂƚŵĂǇďĞŽĐĐƵƌƌŝŶŐŝŶƚŚĞĨŝĞůĚ͘͟ ϰϵ

  dŚĂƚ ĐŽŶĐůƵƐŝŽŶ ǁĂƐ ƐƵƉƉŽƌƚĞĚ ďǇ ƚŚĞ ƐĞǀĞŶ ůĂƐƐ sĞŚŝĐůĞ ĨŝƌĞƐ͕ ǁŚŝĐŚ ƌĞƐƵůƚĞĚ ŝŶ ĨŽƵƌ ŝŶũƵƌŝĞƐ͕ ƚŚĂƚ
  ŽƌŝŐŝŶĂƚĞĚĨƌŽŵƚŚĞsĞŚŝĐůĞƐ͛,sďĂƚƚĞƌǇƉĂĐŬƐĂĨƚĞƌƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞǁĂƐƉĞƌĨŽƌŵĞĚ͘ϱϬƐ
  ŝůůƵƐƚƌĂƚĞĚŝŶ&ŝŐƵƌĞϭϰĂŶĚ&ŝŐƵƌĞϭϱ͕ƚŚĞ͞ĨŝƌĞƐĐŽŶƚŝŶƵĞƚŽŽĐĐƵƌƐŝŶĐĞůĂƵŶĐŚŝŶŐϭϭƌĞŵĞĚǇ͕ŵŽƐƚŽĨ
  ǁŚŝĐŚŚĂǀĞŚĂĚƚŚĞϭϭƌĞŵĞĚǇĐŽŵƉůĞƚĞĚ͘͟ϱϭ/ŶĂůůƐĞǀĞŶƉŽƐƚͲϭϭZĞĐĂůůŝŶĐŝĚĞŶƚƐ͕ƚŚĞĨŝƌĞƐŽĐĐƵƌƌĞĚ
  ǁŚŝůĞƚŚĞůĂƐƐ sĞŚŝĐůĞƐǁĞƌĞ ŬĞǇĞĚŽĨĨ͘ϱϮEŽŶĞ ŽĨƚŚĞǀĞŚŝĐůĞƐŚĂĚƌĞƉĂŝƌ ŽƌĚĞƌƐŽƌ ĚĂƚĂƐŚŽǁŝŶŐƚŚĞ
  ĐƵƐƚŽŵĞƌƐƌĞƚƵƌŶĞĚƚŽĂŶ&ĚĞĂůĞƌƐŚŝƉǁŝƚŚĂdƌĞůĂƚĞĚƚŽƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞ͘ ϱϯEŽƚĂďůǇ͕
  ŝŶŽŶĞŽĨƚŚĞǀĞŚŝĐůĞƐƚŚĂƚŚĂĚĂĨŝƌĞ͕͞EŽdƐƐĞƚďĞƚǁĞĞŶƌĞĐĂůůĐŽŵƉůĞƚŝŽŶĂŶĚĨŝƌĞďƵƚĐƵƐƚŽŵĞƌĚŝĚ
  ŶŽƚĞ Ă ͚^ĞƌǀŝĐĞ ĐŚĂƌŐŝŶŐƐǇƐƚĞŵ͛ŽŶ ƚŚĞ ĚĂƐŚĂƚƚŚĞƚŝŵĞ ŽĨ ĨŝƌĞ͘͟ϱϰ /ƚ ǁĂƐ ŶŽƚ ƐƚĂƚĞĚ ŚŽǁƚŚĂƚǀĞŚŝĐůĞ
  ĨůĂŐŐĞĚĂƐĞƌǀŝĐĞǁĂƌŶŝŶŐǁŝƚŚŽƵƚƚƌŝŐŐĞƌŝŶŐĂd͘ƚĞĂƌĚŽǁŶĂŶĂůǇƐŝƐŽĨŽŶĞ,sďĂƚƚĞƌǇƉĂĐŬƚŚĂƚŚĂĚ
  ĂĨŝƌĞĨŽƵŶĚŽŶĞƚŽƌŶĂŶŽĚĞƚĂďƐƵƐƉĞĐƚĞĚƚŽďĞĐĂƵƐĞĚĚƵƌŝŶŐŵĂŶƵĨĂĐƚƵƌŝŶŐĂŶĚĂƐĞĐŽŶĚƚŽƌŶĂŶŽĚĞ



                                     
  ϰϲ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϰͬZ>ZWdͲϮϰsϱϯϲͲϴϯϱϱ͘W&
  ϰϳ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϬ
  ϰϴ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϬ
  ϰϵ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϳϭ
  ϱϬ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϱϳƚŽ&ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϳϰ
  ϱϭ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϲϳ
  ϱϮ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϵ
  ϱϯ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϵ
  ϱϰ
    &ͺWĂĐŝĨŝĐĂͺD>Ͳϰϱϱϱϱϵ


                                                                                                                ϭϴ
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  ƚĂďƐƵƐƉĞĐƚĞĚƚŽďĞĐĂƵƐĞĚĚƵƌŝŶŐƚŚĞƚĞĂƌĚŽǁŶĂŶĂůǇƐŝƐ͕ďƵƚƚŚĞǀĞŚŝĐůĞƐĐĂŶƌĞƉŽƌƚƐŚŽǁĞĚŶŽdƐ
  ƌĞůĂƚĞĚƚŽƚŚĞϭϭZĞĐĂůůƐŽĨƚǁĂƌĞƵƉĚĂƚĞ͘ϱϱ

  dŚĞϭϭZĞĐĂůůĂůƐŽŝŶĐůƵĚĞĚĂ/WǁŚĞƌĞƚŚĞǀĞŚŝĐůĞŝƐĐŚĂƌŐĞĚǁŝƚŚƌĞƐƚƉĞƌŝŽĚƐĨŽůůŽǁĞĚďǇĂĨŝŶĂůǀĞŚŝĐůĞ
  ƐĐĂŶ͕ǁŚŝĐŚŝƐ͞ŝŶƚĞŶĚĞĚƚŽĐĂƚĐŚďĂƚƚĞƌŝĞƐǁŚŝĐŚŵĂǇŚĂǀĞƐĞǀĞƌĞǀŽůƚĂŐĞĚĞǀŝĂƚŝŽŶƐĂƚƚŚĞĚĞĂůĞƌƐŚŝƉ
  ĂŶĚŵŝŶŝŵŝǌĞƚŚĞĐŚĂŶĐĞŽĨĂĐƵƐƚŽŵĞƌŚĂǀŝŶŐƚŽƌĞƚƵƌŶƚŽƚŚĞĚĞĂůĞƌƐŚŝƉ͘/ĨƚŚĞǀĞŚŝĐůĞĨĂŝůƐƚŚĞ/W͕ƚŚĞ
  ďĂƚƚĞƌǇŝƐƌĞƉůĂĐĞĚ͘͟ϱϲdŚĞŵŽƐƚƌĞĐĞŶƚdĞĐŚŶŝĐĂů^ĞƌǀŝĐĞƵůůĞƚŝŶ;d^ͿƌĞůĂƚĞĚƚŽƚŚĞϭϭZĞĐĂůůĚŽĞƐŶŽƚ
  ƐƉĞĐŝĨǇƚŚĞ,sďĂƚƚĞƌǇƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌ͕ďƵƚĚŝƌĞĐƚƐƚŚĞƚĞĐŚŶŝĐŝĂŶƚŽƚŚĞ^dZĞŶƚĞƌĨŽƌ,sďĂƚƚĞƌǇ
  ƌĞƉůĂĐĞŵĞŶƚĂƵƚŚŽƌŝǌĂƚŝŽŶ͘ϱϳ/ŶŵǇƉƌŝŽƌŝŶĚƵƐƚƌǇĞǆƉĞƌŝĞŶĐĞĂƚ&ŽƌĚ͕ŝƚŝƐĐŽŵŵŽŶƉƌĂĐƚŝĐĞĨŽƌd^ƐƚŽ
  ŶŽƚŝŶĐůƵĚĞƐƉĞĐŝĨŝĐƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌƐďƵƚŝŶƐƚĞĂĚĚŝƌĞĐƚƚŚĞƚĞĐŚŶŝĐŝĂŶƚŽƌĞƉůĂĐĞƚŚĞƉĂƌƚǁŝƚŚƚŚĞ
  ůĂƚĞƐƚĂǀĂŝůĂďůĞǀĞƌƐŝŽŶ͖ƚŚŝƐƉƌĞǀĞŶƚƐƚŚĞŶĞĞĚƚŽŝƐƐƵĞŶĞǁƐĞƌǀŝĐĞŝŶĨŽƌŵĂƚŝŽŶ;Ğ͘Ő͕͘d^ƐͿĞǀĞƌǇƚŝŵĞĂ
  ƐĞƌǀŝĐĞƉĂƌƚŶƵŵďĞƌĐŚĂŶŐĞƐ͘

  &ƌĞƉŽƌƚĞĚƚŚĂƚ͞ŵŽƐƚǀĞŚŝĐůĞƐƉĂƐƐƚŚĞ/WďƵƚƌĞƚƵƌŶƚŽƚŚĞĚĞĂůĞƌƐŚŝƉƐŽŵĞƚŝŵĞĂĨƚĞƌƚŚĞƐŽĨƚǁĂƌĞ
  ŝƐŝŶƐƚĂůůĞĚǁŝƚŚĂd͟ĂŶĚŶŽƚĞĚƚŚĂƚϮϬϲůĂƐƐsĞŚŝĐůĞƐĚŝƐƉůĂǇĞĚĂdǁŚŝůĞĂƚƚŚĞĚĞĂůĞƌƐŚŝƉĨŽƌƚŚĞ
  ϭϭZĞĐĂůů͕ǁŚŝůĞϴϬϴůĂƐƐsĞŚŝĐůĞƐĚŝƐƉůĂǇĞĚĂdŝŶƚŚĞĚĂǇƐŽƌŵŽŶƚŚƐĨŽůůŽǁŝŶŐĐŽŵƉůĞƚŝŽŶŽĨƚŚĞ
  ϭϭZĞĐĂůů͘ϱϴ&ĐŽŶĐůƵĚĞĚƚŚĂƚ͞ĐŽŵƉůĞƚŝŽŶŽĨƚŚĞ/WŝƐŶŽƚĂŶŝŶĚŝĐĂƚŝŽŶŽĨƐŽĨƚǁĂƌĞĞĨĨĞĐƚŝǀĞŶĞƐƐ͘͟ϱϵ

  &ƌĞƉŽƌƚĞĚƚŚĂƚ͕ƵŶĚĞƌƚŚĞϭϭZĞĐĂůů͕ŽŶůǇϴϱϱǀĞŚŝĐůĞƐŚĂĚƚŚĞŝƌ,sďĂƚƚĞƌǇƉĂĐŬƌĞƉůĂĐĞĚŽƵƚŽĨƚŚĞ
  ƚŽƚĂů ϭϵ͕ϴϬϴ ǀĞŚŝĐůĞƐ ŝŶĐůƵĚĞĚ ŝŶ ƚŚĞ ƌĞĐĂůů ;ĨƵůů DzϮϬϭϳͲϮϬϭϴ ƉƌŽĚƵĐƚŝŽŶ͕ ŝŶĐůƵĚŝŶŐ h^͕ ĂŶĂĚĂ͕ ĂŶĚ
  ĞǆƉŽƌƚ͕ƉĞƌƌƌŽƌ͊ZĞĨĞƌĞŶĐĞƐŽƵƌĐĞŶŽƚĨŽƵŶĚ͘Ϳ͘ϲϬ/ƚŝƐƵŶĐůĞĂƌǁŚĞƚŚĞƌĂŶĚǁŚŝĐŚŽĨƚŚŽƐĞϴϱϱ,sďĂƚƚĞƌǇ
  ƉĂĐŬƌĞƉůĂĐĞŵĞŶƚƐƌĞƐƵůƚĞĚĨƌŽŵƚŚĞϮϬϲĂŶĚϴϬϴǀĞŚŝĐůĞƐƚŚĂƚƐĞƚĂdĂƐŶŽƚĞĚĂďŽǀĞĂŶĚŚŽǁŵĂŶǇ
  ŽĐĐƵƌƌĞĚŝŶƚŚĞůĂƐƐsĞŚŝĐůĞƐ;ŝ͘Ğ͕͘ƚŚĞh^ƉŽƉƵůĂƚŝŽŶͿ͘KǀĞƌĂůů͕ϴϱϱ,sďĂƚƚĞƌǇƉĂĐŬƌĞƉůĂĐĞŵĞŶƚƐŽƵƚŽĨ
  ϭϵ͕ϴϬϴǀĞŚŝĐůĞƐƌĞĨůĞĐƚƐĂŵŽƌĞƚŚĂŶϰйƌĞƉůĂĐĞŵĞŶƚƌĂƚĞ͘dŚĞƐĞƌĞƉůĂĐĞŵĞŶƚƐƉƌĞƐƵŵĂďůǇŽĐĐƵƌƌĞĚĂĨƚĞƌ
  ƚŚĞŽƌŝŐŝŶĂůďĂƚƚĞƌǇĨĂŝůĞĚƚŚĞ/WĚƵƌŝŶŐƚŚĞϭϭZĞĐĂůůƐĞƌǀŝĐĞƉƌŽĐĞĚƵƌĞŽƌĂƐƵďƐĞƋƵĞŶƚƌĞƉůĂĐĞŵĞŶƚ
  ĂĨƚĞƌĂƚƌŝŐŐĞƌĞĚd͘

  dŚŝƐ ƌĞƉůĂĐĞŵĞŶƚ ƌĂƚĞ ŝƐ ƌĞůĂƚĞĚ ƚŽ ǁŚĂƚĞǀĞƌ ĚŝĂŐŶŽƐƚŝĐ ƚŚƌĞƐŚŽůĚƐ & ƵƐĞĚ ŝŶ ƚŚĞ ϭϭ ZĞĐĂůů͘
  hŶĨŽƌƚƵŶĂƚĞůǇ͕ĞǀĞŶĂƚƚŚĂƚĚĞƚĞĐƚŝŽŶůĞǀĞů͕ƚŚĞϭϭZĞĐĂůůĚŝĚŶŽƚƉƌĞǀĞŶƚĂĚĚŝƚŝŽŶĂůĨŝƌĞƐ͕ƐŽƚŚĞƌŝƐŬŽĨ
  ĨŝƌĞ ƌĞŵĂŝŶĞĚ ĨŽƌ ƚŚĞ ůĂƐƐ sĞŚŝĐůĞ ƉŽƉƵůĂƚŝŽŶ͘ ĂƐĞĚ ŽŶ ŵǇ ƉƌŝŽƌ ŝŶĚƵƐƚƌǇ ĞǆƉĞƌŝĞŶĐĞ Ăƚ &ŽƌĚ͕ Ă ϰй
  ƌĞƉůĂĐĞŵĞŶƚƌĂƚĞĨŽƌĂŶǇĐŽŵƉŽŶĞŶƚǁŽƵůĚďĞĐŽŶƐŝĚĞƌĞĚŚŝŐŚ͕ĞƐƉĞĐŝĂůůǇĨŽƌĂƉĂƌƚƚŚĂƚ͗

       x   ,ĂƐĂŚŝŐŚƐĂĨĞƚǇƌŝƐŬƌĞůĂƚĞĚƚŽĨĂŝůƵƌĞŵŽĚĞĞĨĨĞĐƚ;Ğ͘Ő͕͘ƌŝƐŬŽĨĨŝƌĞͿ͖

       x   /ƐĂŶĞǆƉĞŶƐŝǀĞƐĞƌǀŝĐĞƉĂƌƚƚŽƉƵƌĐŚĂƐĞĞŝƚŚĞƌĨƌŽŵĂĐŽŶƐƵŵĞƌĐŽƐƚŽƌǁĂƌƌĂŶƚǇĐŽƐƚƉĞƌƐƉĞĐƚŝǀĞ
           ;ƌĞƚĂŝůĐŽƐƚŽĨŶĞĂƌůǇΨϭϮ͕ϬϬϬ͕ĂƐƌĞĨĞƌĞŶĐĞĚŝŶ&ŝŐƵƌĞϯͿ͖ϲϭ
                                     
  ϱϱ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϲϯͲϰϱϱϱϲϲ
  ϱϲ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϬ
  ϱϳ
    ŚƚƚƉƐ͗ͬͬƐƚĂƚŝĐ͘ŶŚƚƐĂ͘ŐŽǀͬŽĚŝͬƌĐůͬϮϬϮϮͬZZ/dͲϮϮsϬϳϳͲϳϮϮϬ͘ƉĚĨ
  ϱϴ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϬ
  ϱϵ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϬ
  ϲϬ
    &ͺWĂĐŝĨŝĐĂͺD>ͲϰϱϱϱϳϮ
  ϲϭ
    ŚƚƚƉƐ͗ͬͬƐƚŽƌĞ͘ŵŽƉĂƌ͘ĐŽŵͬŽĞŵͲƉĂƌƚƐͬŵŽƉĂƌͲŵŝůĚͲŚǇďƌŝĚͲŵŽƚŽƌͲŐĞŶĞƌĂƚŽƌͲƵŶŝƚͲŵŐƵͲďĂƚƚĞƌǇͲƉĂĐŬͲ
  ϲϴϰϴϴϭϴϵĂĂ͍Đсǌϭůď'sũĚ,:ƉzϮ&Ɛ:ŶDϵzŵ&ϬĚ'sǇĞ^ϭŝzyZϬy:ϱ>yZǇzyŬƚztϱŬ>tEŚzŵǆůĐǇƐWdŵďũϭdt&ǇzϮŐŐ
  hŵsǌĚtǆϬĐǇŚWtEŽĐŶůǌď'sǇ:ŵϴϵĐ'&ũĂtƉzϮŵĞdϬǇDϰ:ŶYϵĂ,ůŝĐŵůŬ>yZǀĚy:ƉďŵĐƚĐ'ǆϭĐǇůWdDƚEŵǁƚĚũz
  ƚtǆůzϯZǇĂtDƚϮ&ǌ


                                                                                                               ϭϵ
Case 2:22-cv-03040-DML-EAS ECF No. 184-2, PageID.8084 Filed 12/13/24 Page 24 of 24
                                                           


       x   ZĞƋƵŝƌĞƐĂŶĞǆƚĞŶƐŝǀĞƐĞƌǀŝĐĞƉƌŽĐĞĚƵƌĞƚŽƌĞƉůĂĐĞ͕ŝŶĐůƵĚŝŶŐĂϯϲͲƉĂŐĞd^͘ϲϮ

  &ƌĞƉŽƌƚĞĚƚŚĂƚĂǀŝƐŝŽŶƐǇƐƚĞŵǁĂƐŝŵƉůĞŵĞŶƚĞĚĂƚ>'^;>'ŶĞƌŐǇ^ŽůƵƚŝŽŶͿƚŽƐĐƌĞĞŶŽƵƚĨŽůĚĞĚŽƌ
  ƚŽƌŶĂŶŽĚĞƚĂďĚĞĨĞĐƚƐŝŶ^ĞƉƚĞŵďĞƌϮϬϭϵ͕ĂŶĚ&ƵƐĞĚƚŚŝƐĂŶŽĚĞƚĂďǀŝƐŝŽŶĐŚĞĐŬŵĂŶƵĨĂĐƚƵƌŝŶŐĐƵƚŽĨĨ
  ƚŽĚĞƚĞƌŵŝŶĞƚŚĞǀĞŚŝĐůĞƉŽƉƵůĂƚŝŽŶĨŽƌƚŚĞϳϮZĞĐĂůůĨŽƌDzϮϬϭϵͲDzϮϬϮϭWĂĐŝĨŝĐĂW,sƐ͘ϲϯ,ŽǁĞǀĞƌ͕ŝƚ
  ŝƐ ĐƵƌƌĞŶƚůǇ ƵŶĐůĞĂƌ ǁŚǇ DzϮϬϮϭ ǀĞŚŝĐůĞƐ ǁŽƵůĚ ďĞ ŝŶĐůƵĚĞĚ ŝŶ ƚŚĞ ϳϮ ZĞĐĂůů ĂƐ͕ ŝŶ ŵǇ ĞǆƉĞƌŝĞŶĐĞ͕
  ^ĞƉƚĞŵďĞƌϮϬϭϵǁŽƵůĚŐĞŶĞƌĂůůǇĨĂůůǀĞƌǇĞĂƌůǇŝŶƚŚĞDzϮϬϮϬƉƌŽĚƵĐƚŝŽŶĂŶĚŶŽƚŝŶĐůƵĚĞƚŚĞDzϮϬϮϭ
  ƉƌŽĚƵĐƚŝŽŶ͘EĞǀĞƌƚŚĞůĞƐƐ͕&ĂƉƉĞĂƌƐƚŽďĞƵƐŝŶŐ^ĞƉƚĞŵďĞƌϮϬϭϵĂƐĂĐůĞĂŶƉŽŝŶƚĨŽƌĨŝƌĞƌŝƐŬĚĞĨĞĐƚƐ
  ƌĞůĂƚĞĚƚŽĂŶŽĚĞƚĂďŝŶƚŚĞ,sďĂƚƚĞƌǇŵĂŶƵĨĂĐƚƵƌŝŶŐ͘

  dŚŝƐ ƐƵƉƉůĞŵĞŶƚĂů ŝŶĨŽƌŵĂƚŝŽŶ ĂŶĚ ƚŚĞ ϳϯ ZĞĐĂůů ŝŶĚŝĐĂƚĞ ƚŚĂƚ ƚŚĞ ϭϭ ZĞĐĂůů͛Ɛ ƐŽĨƚǁĂƌĞ ƵƉĚĂƚĞ ǁĂƐ
  ŝŶĞĨĨĞĐƚŝǀĞŝŶĞůŝŵŝŶĂƚŝŶŐƚŚĞĨŝƌĞƌŝƐŬĂŵŽŶŐĂůůůĂƐƐsĞŚŝĐůĞƐ͕ĂŶĚĂƐƐƵŵŝŶŐ&ĐĂŶŝĚĞŶƚŝĨǇĂĐůĞĂŶƉŽŝŶƚ
  ŝŶůĂƚĞƌͲƉƌŽĚƵĐĞĚ,sďĂƚƚĞƌǇƉĂĐŬƐ͕ŝƚƌĞŝŶĨŽƌĐĞƐŵǇŽƉŝŶŝŽŶƚŚĂƚƚŚĞĨŝƌĞƌŝƐŬĐĂŶďĞƌĞŵĞĚŝĞĚďǇƌĞƉůĂĐŝŶŐ
  ƚŚĞ,sďĂƚƚĞƌǇƉĂĐŬƐǁŝƚŚĚĞĨĞĐƚͲĨƌĞĞǀĞƌƐŝŽŶƐ͘ƐƉĂƌƚŽĨƚŚĞϭϭZĞĐĂůů͕ĂŶƵŵďĞƌŽĨ,sďĂƚƚĞƌŝĞƐǁĞƌĞ
  ƌĞƉůĂĐĞĚ͕ƉƌĞƐƵŵĂďůǇĂĨƚĞƌĨĂŝůŝŶŐĚŝĂŐŶŽƐƚŝĐƚŚƌĞƐŚŽůĚƐĚƵƌŝŶŐ/WŽƌĂĨƚĞƌƚŚĞϭϭZĞĐĂůů͘/ŶƚŚĞϳϯZĞĐĂůů
  & ƐƚĂƚĞĚ͕ ͞^ŝŵŝůĂƌ ǀĞŚŝĐůĞƐ ŶŽƚ ŝŶĐůƵĚĞĚ ŝŶ ƚŚĞ ƌĞĐĂůů ĂƌĞ ŶŽƚ W,s͕ ŚĂǀĞ ƌĞĐĞŝǀĞĚ Ă ,s ďĂƚƚĞƌǇ
  ƌĞƉůĂĐĞŵĞŶƚĂĨƚĞƌĐŽŵƉůĞƚŝŶŐϭϭ͕ŽƌǁĞƌĞďƵŝůƚĂĨƚĞƌƚŚĞƐƵƐƉĞĐƚǀĞŚŝĐůĞƉƌŽĚƵĐƚŝŽŶƉĞƌŝŽĚ͘͟ϲϰ;ŵƉŚĂƐŝƐ
  ĂĚĚĞĚ͘ͿƐ&ĂƉƉĞĂƌƐƚŽďĞĐŽŶĨŝĚĞŶƚƚŚĂƚ,sďĂƚƚĞƌǇƌĞƉůĂĐĞŵĞŶƚƐǁŝƚŚůĂƚĞƌͲƉƌŽĚƵĐĞĚƐĞƌǀŝĐĞƉĂƌƚƐ
  ĚŽŶŽƚĐŽŶƚĂŝŶƚŚĞĂŶŽĚĞƚĂďĚĞĨĞĐƚƌŝƐŬ͕ƚŚĞƌĞŵĞĚǇŽĨƌĞƉůĂĐŝŶŐ,sďĂƚƚĞƌŝĞƐƌĞŵĂŝŶƐŽŶĞǁĂǇƚŽĞŶƐƵƌĞ
  ƚŚĞĨŝƌĞƌŝƐŬŝƐĐŽŵƉĞƚĞŶƚůǇĂŶĚĂĚĞƋƵĂƚĞůǇĂĚĚƌĞƐƐĞĚŝŶƚŚĞůĂƐƐsĞŚŝĐůĞƐ͘

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